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“CONFERENCE SECRETARIAT

37/92,
oo BA-15

RESTRICTED

Brussels, 12 August 1992

NOTE FROM THE SECRETARIAT

Subject: Basic Agreement

Enclosed is an updated version of BA-15. it contains the Chairman's
proposal for the definitions related to Investment Promotion and
Protection and a Chairman’s compromise proposa! for Article 14 on
Environment. The Chairman also plans to forward a compromise proposal

of Article 16 before September 7-11 WG-I1 meeting.

Furthermore BA-15 contains updated footnotes on all articles.
in particular the new material on Articles 4A, 20, 25, 26, 27, 29, 30

should be noted.

CHARTER CONFERENCE SECRETARIAT
c/o CEC - DG XVII, rue de la Loi 200, 1049 Brussels, Belgium ,:

Tel: (32-2-) 235 7873 . Fax: (32-2-) 236 6261 .

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EUROPEAN ENERGY CHARTER
37/92 ANNEX

CONFERENCE SECRETARIAT BA-15

RESTRICTED

Brusseis,12 August 1992
DRAFT

BASIC AGREEMENT FOR THE EUROPEAN ENERGY CHARTER

PREAMBLE

The Parties to this Agreement,

Having regard to the Charter of Paris for a New Europe signed on

21 November 1990,

Having regard to the European Energy Charter signed in the Hague on 17
December 1991,

Aware that all Signatories to the European Energy Charter undertook to
agree a Basic Agreement to place the commitments contained in that

Charter on a secure and binding international legai basis;

Desiring to. establish the structural framework required to implement

- the principles enunciated in the European Energy Charter;

Having regard to the. objective of progressive liberalisation of
international trade and to the principle of avoidance of discrimination

in international trade,
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Having regard to the rights and obligations of certain Contracting
Parties who are also parties to the General Agreement on Tariffs and

Trade and its related Agreements, as renegotiated from time to time;

Having regard to national competition rules concerning mergers,
monopolies, anti-competitive practices and abuse of dominant position

where these are already established;

Having regard to the competition rules applicable to member states of
the European Community under the Treaty establishing the European
Economic Community, the Treaty establishing the European Coal and Steel
Community’ and the Treaty establishing the European Atomic Energy

Community ;

Having regard to the competition rules applicable to contracting:

parties to the European Economic Area;

Having regard to the work in the Organisation for Economic Co-operation
and Development and the United Nations Conference on Trade and
Development to increase co-operation between sovereign states on

competition matters;

Having regard to the Treaty on the Non-Proliferation of Nuclear
Weapons, the Nuclear Suppliers Guidelines and the obligations of

international nuclear safeguards;
Having regard -to the increasing urgency of measures to protect the
environment, and to the need for internationally agreed objectives and

criteria for this purpose;

HAVE AGREED AS FOLLOWS:

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PART |

DEFINITIONS AND PRINCIPLES

ARTICLE .1

DEFINITIONS

unless the context otherwise

For the purposes of this Agreement

requires

(1) “Char ter” means the European Energy Charter ;

(2) "contract ing Party" means a party to this Agreement ;
(3)

(W)"Energy Materials and Products", based. on the Harmonised

System (HS) of the Customs Cooperation Council and the Comb ined

Nomenclature (CN) of the European Communities, means the following

- Nuclear energy(2)

- Coal, natural gas,

petroleum and
petrofeum products,

electric energy(4) |

items of HS or CN:

2612

[2845 10}(3)

2844 10 — 2844 50

(uranium, thorium, plutonium and

their combinations)

Chapter 27 (except 2712).
~ 4-

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(4)

HS or CN

- Acyclic and cyclic 12901}¢3)
hydrocarbons [£2902}(3)}(5)

- Renewable energy [2207 20](3)(6)
° (2905 11}¢3)-
14401}](3)
[4402}(3)

“tnvestment" means every kind of energy investment owned or

controlled, directly or indirectly, by investors of one Contracting

Party. in particular, though not exclusively, it. includes any. of

the following:

(a) tangible or intangible property and any other related property

rights such as mortgages, liens or pledges as well as leases;

(b) a company or business enterprise or shares in, or stock, bonds

or debentures or dept of, er any other form of participation

including minority forms in, a company or business enterprise;

(c) claims to money and claims to performance under contract having .

a financial value and associated with an Investment;

(d) Intellectual Property ;

(e) rights, conferred by taw or under contract, to undertake any

commercial activity, including consessions or other rights for
the. search for, or the cultivation, extraction or exploitation

of natural resources;.
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A change in the form in which assets are invested does not affect
their character as investments and the term “Investment" includes

all investments, whether existing at or made after the later of the

dates of entry into force of this Agreement for the Contracting

Party of the Investor making the Investment and Contracting Party

in_ which the Investment _is made (hereinafter referred to as the’

“effective date") provided that with respect to investments made
before the effective date and continuing after the effective date,
this Agreement shaii only appiy to matters affecting such

investments after the effective date.
(5) "Investor" means with regard .to a Contracting Party:

(a) natural persons having the citizenship or nationality of that

Contracting Party in accordance with its laws;

(b) companies or firms constituted under civil or commercial law,

including cooperative societies and’ other legal persons

governed by public or private law_in force in the territory of

that Contracting Party or otheriwise having the nationality of

a Contracting Party in accordance with its laws and having its

registered office, central administration or principal place of

business within the territory of a Contracting Party;

(6) "Make Investments" means establishing a new’ Investment,
, acquiring all or part of an existing Investment, expanding an

existing Investment, or substantially altering the type or the

objective of an existing investment;

(7) "Returns" means the amounts yielded by an Investment in
pecuniary form or in kind and in particular, though not
exclusively, ‘includes profit, interest, © capital gains,
dividends, royalties and fees, unspent earnings and other

- remuneration of personne! engaged from ‘abroad in connection

with that Investment.
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(8) "Domain" means in respect of a Contracting Party the territory
under its sovereignty, it being understood that territory
inctudes iand, internal waters and the territoriai sea, and the
sea, sea-bed and its subsoi | over which that Contracting Party
exercises, in conformity with international law, sovereign
rights or jurisdiction. [With respect to a regional economic
integration organisation which is or becomes a Party to this
Agreement the term “Agreement Area" shall be ‘construed as
meaning the respective ‘territories of those member states of
such organisation which are also Parties to this Agreement, to
the extent of that organisation’s competence in the matters
which are the subject of this Agreement in those
territories](7).

(9) (8)"GaATT" means GATT, its related instruments, applicable
term schedules and relevant jurisprudence including reports of
dispute settlement Panels, agreements and decisions of the

Contracting Parties.

(10) (8)"GaTT-related instrument" means an agreement, arrangement,

decision, understanding, declaration, or. other Joint action

pursuant to the General Agreement on Tariffs and Trade.

(11) ["Inteliectual Property" is as defined in Article 2 of the
Convention establishing the World Intellectual Property
Organisation, done at Stockhoim, July 1967]°9).

(12) “Protocol” means. an agreement entered into. by any of the
Contracting Parties under the auspices of the Charter in order
to complement, supplement, extend or amplify the provisions of
this Agreement to specific sectors or categories of activity
comprised within the scope of. this Agreement, including areas

of cooperation referred to in Title I!!! of the Charter.

(13) “Freely Convertible Currency" means a currency which is widely
traded in international foreign exchange markets and widely

used in international transactions.
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General

comments

Articles 1.4,-1.5, 1.6, 1.7, 1.12 and.1.13 are Chairman’s compromise

Proposals.

Specific comments

General scrutiny reserve.

' CDN suggests inclusion of uranium, ore and concentrates uranium

compounds and heavy water only (2612.10, 2844.10 - 2844.50,
2845.10). ,

J asks for deletion.
CDN wants Petroleum products to include energy products only
and not petrochemicals (chapter 27 escept 2107 (destillates

from coal tar) up to 27.1113).

CDN scrutiny reserve.

A, CDH and CH asks for deletion.

EC will propose a new text.

References of GATT and GATT-related instruments .as currencttly
drafted in items, (10) and (11) are overlapping and. will be

reworked after the discussion of trade related Articles.

AUS supported by USA suggests adding : “and shall also inciude.
confidential information Cincluding trade secrets and knowhow).
circuit layouts and semi-conductor chips and unregistered trade

marks".
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ARTICLE 2
OBJECTIVE OF THE AGREEMENT

The objective of this Agreement is to establish a legal framework in
order to promote long-term cooperation in the energy field, based on
mutua | benefits and compiementarities, im’ accordance’ with the

objectives and the principles of the Charter.

Chairman's note

Negotiations finished.

ARTICLE 3
PRINCIPLES - Deleted.

[ARTICLE 4]41)
SOVEREIGNTY OVER ENERGY RESOURCES

The Contracting Parties recognise state sovereignty and sovereign
rights over energy resources. In accordance with and subject to its
international ° legal rights and obligations, each State holds in
particular ‘the rights to decide the geographical areas within its
Domain to be made available for exploration and development of its
energy resources and the optimalisation of their recovery and the rate
at which they may be depleted or otherwise exploited, to specify and
enjoy any taxes, royalties or other financial payments payable by
virtue of such exploration and exploitation and to regulate the
environmental -and safety aspects of such exploration and development

within its Domain.

Specific comments

4.1: USA reserve.
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[ARTICLE 4A}](1)

ACCESS TO RESOURCES

The Contracting Parties undertake to facilitate access to and
deve lopment of energy resources by Investors by formulating
rules regarding the acquisition, exploration and development of energy
resources. They shall apply such rules [on a ‘non-diser iminatory
basis}](2) in accordance with this Agreement, particularly Article 16,

and any relevant Protocol! (3),

\

General comments

- Finalisation of this Article dependant on satisfactory completion

of trade and investment Articles, as well as Articles 26 and 28.

- Since the tast meeting of WGi!l on 15-19 June 1992 N has submitted a

new text containing three paragraphs reading:
(1) First sentence of current draft.

(2) The Contracting Parties shall maintain or- adopt procedures,
which shall not discriminate investors from other Contracting
Parties on grounds of nationality or country of origin,
governing acceptance and treatment prior to allocation of
applications for authorisations, licences, concessions and
contracts to prospect and explore for or to exploit or extract

energy resources.

(3) in allocating authorisations, licences, concessions and
treat Investors from other Contracting Parties no _ tess
favourably than Investors from any other Contracting Party or

any third country, whichever is most favourable.
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Specific comments

4A.1: USA general reserve.

USA scrutiny reserve. Preferentially to be replaced with “on

‘the basis of national treatment".

‘It is noted that the relevant Protocols would affect the

. application of such rules by only the Parties to this Protocol.
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[ARTICLE 48]41)
ACCESS TO. MARKETS

(1) The Contracting Parties will strongly promote access to
local,export and international markets for the disposal of [Energy
Materiais and Products] on commercial terms and undertake to remove
progressively barriers to trade. [Energy Materials and Products]
originating from = any Contracting Party shall be given = [non-
discriminatory] access to markets in other Contracting Parties in

‘accordance with this Agreement and any reievant Protocol.
Similarly, and in particular in. accordance with Article 16,
Investors of one Contracting Party shall not be excluded or
restricted from enter ing and operating in the market of ‘another

Contracting Party.

(2) The Contracting Parties agree to work to alleviate. market
distortions and barriers to competition in markets in the energy
[sector/cycle/field]. [In general, price formation shall be based

on market principles](2).

General comment

Finalisation of this Article dependant on satisfactory completion of

\

trade and investment Articles, as well as Articles 26 and 28.

Specific comments .

i

4B.1: USA general reserve.

4B.2: J scrutiny reserve.
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PART 11
MARKETS
[ARTICLE 5](1)

LIBERALISATION AND NON-DISCRIMINATION

(1) €2)contracting Parties undertake to remove progressively - the
barriers to trade with each other in [Energy Materials ‘and
Products] and [related equipment and services](3) in a manner
consistent with their other international! obligations so as to
achieve the [greatest possible degree of }(4) liberalisation
in the market (5). . ,

(2) In” particular, ’ Contracting Parties _ [undertake] (6) in
relation ‘to [Energy Materials and Products] and [related ~

equipment and services] (3):

(a) ()not to [increase] (8), custom duties and other
‘charges nor to introduce new quantitative restrictions or
measures having similar effect on imports or exports as
‘{from. the date of entry into. force] (9) -of this
Agreement ;

(b) (19) not ‘to apply any customs duties,- charges: or other
regulations relating to impor tat ion or exportation in a
discriminatory manner as between other. Contracting Parties,
provided that Contracting Parties may take action according
to established international criteria against unfair

trading practices;

(c) not to apply internal laws, taxes, charges, standards or
other regulations in such a manner as to treat domestic
products or services more. favourably than similar.

products(11) of other Contracting Parties (11),
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- 13.-
General comments
USA will forward a complete alternative text for handling the GATT
issues based on the "Reference approach". The text wil! be circulated

to delegations during the summer , in good time before the next meeting
of WG ii on 7-11 September i992.

Specific comments

CDN, J, N general reserve on whole Article.

N suppor ted by RUF asks for adding: “observing in particular

the principles contained in the Article 11".

PL asks for balance by introducing a “restructuring clause"
permitting to reintroduce tariffs or charges in case of
restructuring industries or heavy unemp!oyment. Points out that

transitional arrangements provisions are not clearly sufficient

N suggests replacing with “institute or maintain".

‘N asks for similar language as used in Article 16, suggests

replacing with: "after the signature".

PL reserve pending the discussion on Article 27.

5.140 :.
5.2 _ AUS reserve, SF scrutiny reserve.
§.3: Subject to Definitions.
5.4 N delete.
5.5
5.6 Deferred to later discussion.
5.7
here.
§.8
§.9
§.10:
5.11

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[ARTICLE 6] (1)

PROCUREMENT POLICIES

1

(1) (Each Contracting Party shall ensure that non-governmental
entities with exclusive rights and government entities (hereinafter
referred to as "Awarding Bodies") responsible for the award of
contracts for the supply of works, equipment for services] with
respect to any matter the subject of this Agreement with the
exception for energy delivered to energy entities apply criteria in
awarding such contracts which are [objective and}(2) transparent
fand do not discriminate on grounds of nationality]°3). [in
particular, the conditions regarding eligibility or invitations to
tender for. contracts for the supply of works above five million ECU
in value and of equipment above 400,000 ECU in value shall not be
such as to place suppliers or contractors of one Contracting Party
at a disadvantage when compared to suppliers or contractors from
any other Contracting Party [including the Contracting Party in
whose Domain the contract is to be per formed] (3)1(4). Except in
circumstances which are objectively justifiable, [such]‘5)
contracts shall be awarded on the basis of open competition, to
which end each such Awarding Body shall give effective publicity.
to, and allow such time as is reasonable in the circumstances for.
the submission of tenders for, such. contracts by suppliers or

contractors from the other Contracting Parties.

(2) Contracting Parties shall not permit the relevant entities to
circumvent this Article by splitting contracts or using special

methods of calculating the value of contracts.

Subject to USA alternative redraft.
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General comments

(USA, J, EC): Clarification of first sentence needed, in particular

“non-governmental entity".

(CH): lf services are included a more evolutive clause should
be adopted.
(USA): The reference to circumstances which are "objectively

justifiable" introduces elements of Judgement into
this Article which should be eliminated. All contracts
shall be awarded on the basis of open competition. GATT

Government Procurement Code may apply to parastatals.

Specific comments

6.1: CDN, USA, J, AUS reserved position on whoie Article.

6.2: EC suggests deletion.
6.3: RUF reserved position.
6.4: EC suggests deletion.
6.5: EC suggests replacing with: “under national rules or

international obligations, major".

6.6: Left for later discussion as the procurement policies are stil!

under negotiation at the GATT.
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[ARTICLE 7}(1)

[INTELLECTUAL PROPERTY](2)

(1) [Each Contracting Party shall, subject. to paragraphs (2) and (3)
below, afford protection under its domestic laws no less favourable
than. the protection it applies to its own nationais or to the
nationals of. any [Contracting Party](3) with respect to
Intellectual property entailed in or created as a result of all
activities carried out pursuant to this Agreement in its Domain by

investors of other Contracting Parties.]¢4)

(2) [Without prejudice to paragraph (3), Contracting Parties who are
not parties to the Paris Convention on the Protection of Industrial
Property (1967 Stockhoim revision) ("the Paris Convention") or the
Berne Convention on the Protection of Literary and Artistic Works
(1971: Paris revision) ("the Berne Convent ion") agree to apply
protection equivalent to at least the minimum(5) required by

those Conventions to the matters subject of this Agreement.) (8)

(3) LIn the event of the adoption of an agreement, within the framework
of the Uruguay Round of the General Agreement on Tariffs and Trade,
on the Trade Related Aspects of Inteilectua! Property (hereinafter
‘referred to as the “TRIPS Agreement"), the level of protection to
be afforded under paragraphs (1) and (2) above shall in the case of
Contracting Parties who are signatories of the TRIPS Agreement
equal at least the minimum level provided for by this where the
TRIPS Agreement provides for a higher minimum level of protection
than that af forded under the Paris and Berne Conventions under
paragraphs (1) and (2) above. [In the case of Contracting Parties
not party to the TRIPS Agreement, proposals shall, in the event of
its adoption, be considered. for ensuring an equivalent level of
protection for intellectual property covered by the terms of this

Article in the Domain of such Contracting Parties](7)(8)j(9),
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(4) Without prejudice to paragraphs (1) to (3) above, in relation to

any information of industrial or commercial value, which is secret
information, and in respect of which reasonable steps have been
taken to maintain such secrecy, each Contract ing Party shall ensure
that its domestic laws provides means for the natural and tegal

persons lawfully in contro! of such information to prevent its

_ disclosure, acquisition or use without their consent in a manner

contrary to honest commercial practices.

General comment

gues that para (3) and (4) should be discussed after the conclusion

J ar
of TRIPs negotiations. “Secret information" in para (4) should be
clarified and defined in the text.

t

‘Specific comments

7.1:

CDN general reserve pending review of the relevant conventions

to which CDN does not adhere.

EC suggests replacing the whole Article with following
shortened text:

"Each Contracting Party shall ensure effective and adequate
protection of intellectual, industrial and commercia! property
rights according to the applicable international conventions,
and particularly the Berne Convention for the protection of.
literary and artistic works (Paris Act of 24° July 1971) and the
Paris Convention for the protection of industrial property

(Stockhoim Act of 14 July 1967)".

AUS suggests replacing with "other country" to strenghten this

non-discrimination clause.
USA suggests deletion of para (1).

CH suggests inserting "level".
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7.6: AUS argues that the Paris and Berne Conventions are silent or
deficient on some issues which would seem to be important in
the Energy Charter context (e.g. patent terms, exclusions from
patentability, protection of computer programs and integrated
circuits, enforcement of intellectual property rights). This
could be addressed in an Annex (max 2 pages) of key standards
for the protection of intelfectua!l property (e.g. patents,
copyright, incl. computer programs, integrated circuits,

designs, trade secrets and trade marks).

7.7: CH suggests replacing with the following text:
"Contracting Parties who are not party to the TRIPs Agreement
shall accord, in the field of intellectual property covered by
this Article, a level of protection equivalent to the level
provided for by the TRIPs Agreement where it provides for a
higher minimum level of protection than that accorded under the

Paris and Berne Conventions".

7.8: AUS suggests replacing with the wording
“Contracting Parties not party to the TRIPS Agreement shall

comply with the substantive provisions of that Agreement".

7.9: Discussion on para (3) was deferred. Chairman suggests that
the substance might be moved to an accompanying document which

could be negotiated by Contracting Parties.
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[ARTICLE 8]¢1)

COMPETITION

(1) The Contracting Parties agree, sublect to their existing
international rights and obligations, to work to alleviate market
distortions and barriers to competition in. the extraction,
production, ' conversion, treatment, carriage Cincluding
transmission, distribution and marketing) and supply of {Energy
Materiais and Products] in relevant markets, insofar as they may

affect trade between Contract ing Parties.

(2) Contracting Parties shall ensure that within their jurisdiction
they. have and [enforce](2) such laws, as are necessary and
appropriate to address unilateral and concerted anti-competitive

conduct(3) in the areas covered by this Agreement.

[Where Contracting Parties already have such laws, their scope,
interpretation or implementation. shall not be affected by this
Articte](4),

(3) (5) Contracting Parties with exper ience “in applying competition
rules shall give full consideration to providing, upon request and
within available resources, technical assistance’on the development .

and imptementation of competition rules to other . Contracting

Parties.

(4) Contracting Parties may co-operate ‘in the enforcement of their
competition rules by consulting and exchanging information, subject
to Limitations imposed by !aws regarding disclosure of information,

confidentiality and business secrecy.
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(5)

(6)

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lf a Contracting Party considers that any specified
anti-competitive practice carried out within the Domain of another
Contracting Party is adversely affecting an important interest, the
Contracting Party may notify and request consultations with the
other Contracting Party. The notifying Contracting Party shalt
include, in such notices and consultations, sufficient information
to permit the other — Contracting Party to ident ify the anti-

competitive activities that are the subject of the notification.

Upon receipt of a notification under this Article, a Contracting
Party [may consider whether to initiate (6) action within its
national! Jurisdiction including, where appropriate, additional or
expanded - enforcement activities](7) to remedy the anti-

competitive activities identified in the notification.

[The procedures set forth in paragraph 5 above shall be the
exclusive means. of resolving any disputes that may arise over the

implementation of this Article.](8)

Specific comments

8.1

8.5

N scrutiny reserve on whole Article.
USA scrutiny reserve.
EC, GB suggest insertion of “and exploitative abuses".

Contingency reserve by J and USA. USA is considering, if

necessary, to submit a particular wording to the Secretariat.

Article 42 could contain an appropriate reference to the notion
of paragraph 8.3. To the attention of the Transitional

Subgroup. - ~
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8.6

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AUS proposes inserting of “legitimate”.

N suggests replacing with “shail seek". EC will propose a

compromise text incorporating N suggestion and current text.

General scrutiny reserve on new para (6).

ARTICLE 9
MONOPOLIES — Deleted.
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[ARTICLE 10}(1)
STATE AID

1) [State aid shall not be granted [to energy industries or through
the prices of [Energy Materials and Products] with the object of
distorting competition . in trade between the Contracting
Parties](*). Aid granted for other purposes should be granted in

a manner which minimizes such distortion]. (3)

2) The Contracting Parties shali ensure transparency in the area of
public aid, inter alia by reporting annually on the total amount
and the distribution of the aid given and by providing, upon

request, information on ait schemes.

3) [The provision of capital financing by a Contracting Party to
. enterprises owned in whole -or in. part by the Government of that
Contracting ‘Party shall not constitute subsidisation to the extent
that the finance is provided on terms Cincluding return on funds)
substantially equivalent to the terms on which the enterprise might
reasonably expect to receive capital financing if it were in the

‘private sector].

General comments

The further discussion pending a new drafting of the "Reference

Approach”.

Specific comments

10.1: A suggests elimination of this Article and substance to be
moved to Article 8. Furthermore the. current wording requires
redrafting e.g. along the lines of the recent. EC and EFTA free

trade agreements with some Eastern European countries.
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10.2: N suggests replacing with “when preventing the use of

environmentally more benign energy sources".

10.3: KIR suggests replacing para(1) with :
"State aid to energy industries shal! be granted in a manner

which minimizes the distortion of competition in trade among
the Contracting Parties".
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PART 111
OTHER PROSPECTIVE
[ARTICLE 11941)

TRANSPORT AND TRANSIT

(1) Each Contracting Party [shall take the necessary measures to
facilitate}(?) the transit through its Domain of [Energy
Materials and Products] from the Domain of another Contracting
Party to the Domain of a third Contracting Party or to or from port
facilities in its Domain for . loading or unloading, without
distinction as to the origin, destination or ownership of such
CEnergy Materials and Products] or discrimination as to the pricing
on the basis of such ‘distinctions, and without imposing any

unreasonable delays, restrictions or charges.

(2) (3)contracting Parties shall encourage relevant entities to

cooperate in:

(a) modernising transit networks necessary to the supply of [Energy

Materials and Products];

(b) the development and operation of transport infrastructure

serving the Domain of more than one Contracting Party;

(c) measures to. mitigate the effects of the interruption in the

? supply of.[Energy Materials and Products];

(d) facilitating the -connection to high-pressure transmission
pipelines and the synchronous interconnection of high-voltage

transmission grids.
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—~ 25 —

(3) (3) (Each Contracting Party undertakes that its provisions
relating to [transport of [Energy Materials and Products] and the
use. of harbour facilities]‘4), high-pressure transmission
pipelines or high-voltage transmission grids shall treat [Energy
Materials and Products] wholly or partly originating in or destined
for the Domain of ancther Contracting Party, in.no less favourable
a manner than its provisions treat such materials and products
wholly or partly originating in or destined for its own Domain,
except if otherwise provided for in “an existing international

Lagreement](5).

(4) (Sin the event that access to existing [high-pressure
transmission pipelines or high-voltage transmission grids}(7)
within a Contracting Party cannot be obtained [on commercial terms
for transit of energy from another Contracting Party to a third
Contracting Party, the Contracting Parties shall not place
obstacles in the way of establishing financially and economically
viable new capacity-subject to their applicable legislation, inter
alia on safety, technical standards, environmental protection and

land use](8),

(5) A Contracting Party through whose Domain [Energy Materials and
Products] transit [through high-pressure transmission pipelines or
‘high-voltage transmission gr ids}]9) from the Domain of another
Contracting Party to the Domain of a third Contracting Party or to

or from port facilities in its Domain for toading or unloading
shall not in -the event of a dispute over. the terms and conditions
of that transit interrupt nor. permit any entity ‘subject to its
[jurisdiction](10) to interrupt the existing flow of [Energy
Materials and Products] until after [the dispute has been referred

to the. Governing Council and the Governing Council has hadj611)

adequate time to seek conciliation between the parties in dispute.
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(6) (Dthe provisions of this Article shall not require a Contracting

Party to take action [- other than the protection of existing flows

- which it demonstrates to the other Contracting Parties concerned

would endanger its] (12) fEsecurity of] (13) energy supply,

quality of service and the most efficient development and operation

of all parts of its electricity and gas systems(14) ,

Specific comments

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CDN, AUS, N, J and AZB general reserve on whole Article.

USA scrutiny reserve. EC conditional reserve subject to

withdrawal of USA reserve.

GR reserve.

USA reserve pending further instruct ions from capital.
‘AUS asks for substituting with “law”.

EC may prepare additional language reducing any possible doubt

that this provision does not require third party access.

AUS asks for replacing with’: “facilities for the transport of |

[Energy Materials and Products] and harbour facilities".

GR suggests substituting with : "for transit of energy from
‘another Contracting Party, the first Contracting Party shall,
if requested, attempt to resolve the issue - including ‘if
appropriate by considering the possibility of new capacity
being established - in - accordance with its” applicable
‘legistation, inter alia on safety, environmental protection and

land use".

AUS supported by RUF suggests deletion.

11.10: SF supported by S and CH réquests substituting with "control".

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11.11: General reserve by J, N, USA, AUS and A. Chairman noted that
the appropriate form of conciliation procedure could be
discussed in the context of Article 29 but asked AUS, USA, RUF

to come up with a compromise solution.

11.12: A suggests replacing with : “which ~ apart from. existing supply
flows and contractual relations to be maintained - proves to

endanger its own".
11.13: RUF and AUS reserve.

11.14: RUF suggests adding the following text : .
subject to the requirement, that the relevant policies,
measures and practices in the fields covered by this Article
are not applied in a manner which causes disturbances to the
principles of the present agreement, would constitute a means
of discrimination between the Contracting Parties or its
Investors, .or cause serious damage to existing contractual .
relations in the fields covered by this Agreement or to the
trade flows, and that such relevant policies, measures and
practices shall be discont inued as soon as the - conditions

giving rise to them have ceased to exit".

Chairman's note

Work has been completed on this Article in WGIIl and is being referred

“to Plenary.
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ARTICLE 12

TRANSFER OF TECHNOLOGY

(1) The Contracting Parties agree to promote in accordance with their
laws and reguiations access to and transfer of technology on a
commercial and non-discriminatory basis to assist effective trade
and “Investment and to implement the objectives of the Charter,

subject to the provisions of Article 7.

(2) Accordingly to the extent necessary to give effect to paragraph
(1), the Contracting Parties shali eliminate existing and create no.
new obstacies for. transfer of technology, in the field of [Energy
Materials and Products] and related equipment and services, subject

‘to non-proliferation and other international obligations.

Chairman's note

Negotiations finished.
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[ARTICLE 13}(1)

ACCESS TO CAPITAL

(1) [Each Contracting Party shall accord to Investors of another
Contracting Party access to capital markets no less favourable than
that accorded in like situations to its own Investors or to
Investors of any other. Contracting Party or of any third state with
respect to. the borrowing of funds and the insurance and sale of
equity shares and other securities in connection with extraction,
production, conversion, treatment, carriage or supply of [Energy
Materiais and Products]. Nothing in this Article is intended to
impair the ability of financial institutions to establish and apply

their own lending practices based on market principles](2).

(2)-Each Contracting Party shall provide the fullest possible access to
public credits, guarantees and insurance |for.. investors in
extraction, production, conversion, treatment, carriage or supply

of [Energy Materials and Products].

(3) The Contracting Parties shall seek to the greatest extent possible
to take advantage of the expertise and to support the operations of
relevant international financial institutions in mobilising private
investments in conection with the subject. matter of this

' Agreement.

Specific comments  _
13.1: General scrutiny reserve.

13.2: J scrutiny reserve on para (1).
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ARTICLE 14
ENVIRONMENTAL ASPECTS
(1) The Contracting Parties shall strive to minimise harmful effects on

the environment of ail aspects of the energy cycle in an

economically and environmentally sustainable manner. in doing so

they shal! be quided by the principles that precautionary action

‘Should be taken to anticipate, prevent_or minimise environmental

damage and that the polluter should _in principle bear the cost of

such damage. Contracting Parties shall accordingly;

(a) take account of environmenta! considerations throughout the
formulation and implementation of their energy policies,

including an appropriate mix of policy instruments;

(b) promote market-oriented price-formation including a_ fuller

reflection of environmental cost and benefits; that occur both

within and outside’ their Domains and promote research in

appropriate fora on methods to quantify and appropriately

recognize environmental! costs and benefits.

(c) through cooperation as appropriate, take into account the

differences in environmental impacts and abatement___costs

between Contracting Parties to minimise harmful effects in_the

most cost-effective way.

(d) promote and implement national energy polities that minimises

in an economically acceptable way any negative environmental

effects having particular regard to the improvement _of energy

efficiency and the development and use, of renewable sources;
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(2)

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(e) promote the dissemination of information on environmentally

sound and economically efficient energy policies, practices and

technologies in order to increase awareness among consumers of

the environmental considerations and ways to reduce adverse

effects and consult each-other on how to promote such awareness
most effectively. Such promotion may include labelling schemes
for informing the public about comparative -environmenta!

effects of energy consuming products available on the market;

(f) encourage favourable conditions for the transfer and
dissemination oof technology “which will reduce harmful

environmental effects, taking account of the need for adequate

protection of intelectual Property.

(g) promote the use of best available technologies not entailing

excessive costs for energy efficiency and environmental

protection; /

(h) promote the transparent assessment of environmental impacts of

environmentally significant tnvestment projects at an eariy
stage and ensure transparency within their legal and

administrative framework;

Ci) encourage appropriate research and development activities to.

foster inovation in environmentally sound and economically

efficient energy technologies including sources of renewable

energy;

(J). promote internationally awareness and information exchange on
Contracting Parties’ relevant environmental! programmes and
standards and on the implementation of these programmes and

standards.

The Contracting Parties shall ensure consistency between their

energy policies and international environmental agreements to which

they—are parties. toa ee ce
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— (3) For the purposes of this Article;
i) “energy cycle" means the entire energy-chain inciuding

prospecting for, exploration, production, conversion, storage,

transport, waste disposal and distribution and consumption of

the various forms or energy and the decommissioning and ~

treatment of energy-related physical structures.

ii) “environmental impacts" means any significant effects on the
environment, including human health and safety, flora, fauna,

soil, air, water, climate, landscape and historical monuments

.or: other physical structures or the interactions among these

factors.

General comment:

The new text is the chairmans compromise mainly based on contributions

recorded in BA-14.

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ARTICLE 15

TRANSPARENCY

(1) Each Contracting Party undertakes that laws, regutations, Judicial
decisions and administrative rulings and standards. of general
application which are made effective by that Contracting Party and
which relate to the production, import, export, conversion,
distribution or use of [Energy Materials and Products]‘1) shall
be made public promptly in such = a manner as to enable other
Contracting Parties and Investors to become acquainted with them.
Agreements made between governments or governmental agencies of two
or more Contracting Parties which affect international trade. in
[Energy Materials and Products] between Contracting Parties shall

also be published.

(2) [The provisions of paragraph (1) above shall not require any
) Contracting Party to disclose confidential information in such a

way as to impede law enforcement or otherwise be contrary to the
public interest or to tfaw, or to prejudice the legitimate
commercial interests of particular public = or private

enterprises] (2).

(3) Each Contracting Party undertakes to nominate [and publish details
concerning a central](Senquiry point to which. requests for
information about relevant laws, regulations, Judicial decisions
_and administrative rulings may be addressed and to communicate
[these details]4) to the Secretariat established under Article

31, for provision by the Secretariat to any Investor on request.
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Subject to USA alternative redraft.

' Genera! comments

USA asks provisionally for including a commitment to provide = an
opportunity for Investors to comment before the adoption of additional

regulations having general effect.

Specific comments

15.1 : USA asks for inserting "and Investment".

15.2 : .CDN would prefer ‘wording closer to GATT provisions if
possible.

15.3. : EC suggests deletion.

15.4 2 EC in relation to footnote 15.3 proposes replacing with

“promptly the location of this enquiry point".

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PART IV
INVESTMENT PROMOTION AND PROTECTION
[ARTICLE 16} (1)

PROMOTION, PROTECTION AND TREATMENT OF INVESTMENTS

(1) Each Contracting Party shall in accordance with ‘the objectives and
principles of the Charter and the provisions of this Agreement
encourage and create. stable, Lequitabie}(@), . favourable and
transparent conditions for Investors of [other }(2) Contracting
Parties to Make Investments in its Domain. ‘Such conditions shall
include a commitment to accord at all times to Investments ‘of
Investors of [other](2) Contract ing Parties fair and equitable
treatment. Such investments © shall also enjoy — most constant —
protection and security [and no Contracting Party shall in any way
impair by unreasonable or discriminatory measures their management ,
maintenance, use, ‘enjoyment or disposalj(3), In -no case shall
such Investments be accorded treatment less than that required by
international law, including that Contracting Party's international

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obligations. [This Part shall not derogate from the duty of each

Contracting Party to observe anv obliaations it ma
Contracting rarty tO ooserve op igations if ma

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into. with regard to. Investments of Investors of any othe

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Contracting Party to the extent that they are more favorable than
those accorded by this Part](4). ‘

(2) (Seach Contracting Party shall permit Investors of other
Contracting Parties to Make Investments in its Domain(6) on a
basis no less favourable than that accorded(7) [to its own
‘Investors](8) or to investors of any other Contracting. Party or
“any third state, whichever is the most favourable(9) subject to

the provisions of paragraphs (3) to (6) below.
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(3) (5) Notwithstanding paragraph (2) above Contracting Parties may
Maintain -timited exceptions to the ob!figations of paragraph (2)
which correspond to their domestic legislation [in force on the

date of signature of this Agreement}](19). provided

(a) any exception shal! not be a greater departure from the
obligations of paragraph (2) than that required by or specified

in the relevant [law or regulation}(11)

_(b) details of the relevant [laws, regulations and policies](11)
are available publicly. in !ine with Contracting Parties’
obligations under Articie 15 of this Agreement [and are

provided in summary .form in Annex [A] hereto attached](12).

(The rights and treatment accorded pursuant to any such exceptions

shall be on a most favoured nation basis](13),

(4)(5)For the avoidance of doubt, the provisions of this Article do
not affect the application of a Contracting Party’'s [taws,
regulations and policies](11) as listed in Annex (A) concerning
the participation of Investors of another Contract ing Party in any
particular activity or possible Investment under the terms of this
Agreement, whether or not such Investors have already made other

Investment in the Domain of that Contracting Party.

[(5) 5) The Contracting Parties agree not to introduce after their
signature of this Agreement any changes to measures notified under -
Annex [A] which would have the effect of adding to any
discrimination thereby maintained between the right and ability of
their own Investors and investors of any other Contracting Party or.
third state, whichever is the most favourable, to make investments
in their Domain. Contracting Parties may, however, add after their.
signature of this Agreement any relevant measures to Annex [A]
[which may § resuit from the ending}{14) of any monopolies
maintained by them in the field of | activities covered by this
Agreement. Once notified, any such measures shall also: be subject
to the other provisions of this paragraphy(10)(15)(16)(17)_
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(6) “5)The Contracting Parties agree [to make every effort](18) to
eliminate existing restrictions listed at Annex [A] to this
Agreement which affect the ability of Investors of other
Contracting Parties to make Investments in their Domain. [The
Governing Council shal! review progress’ in this direction
periodically and, in the first instance, no later than 3 years

following the entry into force of this Agreement ](19) ,

{(7) in addition each Contracting Party shall in its Domain

accord to Investments and Activities Associated with Investment of
Investors of another Contracting Party treatment ‘no less favourable
than -that which it accords(7) to Investments and Activities
Associated with Investment of [its own Investors or}(8) the
Investors of any other Contracting Party or any third state,
whichever is the most favourable(20)}(21),

(8) A Contracting Party shall, subject to its laws and regulations

relating to the entry, stay [and work](22) of natural persons:

(a) [permit]°23) tnvestors(24) of another Contracting Party who
have made [Investments in the Domain of the first Contracting
Party to emp toy (25) within} (26) its . Domain key
personne! (27) of their choice regardiess of nationality or

citizenship;

. [(b) favourably examine requests made by natura! persons who are
employed by Investors of another Contracting Party to enter and
remain in its Domain for the purpose of engaging in activities

connected with relevant investments] (28) .

(9) [Without prejudice to Article 19, the provisions of this Article
shall also apply to Returns](29).

(10)[No Contracting Party shall impose trade-related performance

requirements as a condition for the making or the operation of an

Investment. Such requirements include commitments to export goods

produced, or commitments that goods or services must be purchased

locally, or other similar commitments](39).
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Generai commenis

- Chairman plans to propose _a compromise text for Article 16 to be

circulated some time prior to September meeting of WG-11.

- Norway preferred alternative was based on MFN treatment in the
establishment phase. Alternatively, based on National Treatment,
the exceptions to Article 16 should be made as formal reservations
rather than in = an Annex A. If a Contracting Party was not
satisfied with the formal reservation of another Contracting
Party, it could reciprocate in relation to Investors of the

Contracting Party who had made the reservation.

=- There was unanimous agreement among delegations that ways be found
over time to minimise the exemptions to National Treatment, to be

listed in Annex A, or as reservations.

Specific comments

16.1 : N, AUS and CDN general reserve on whole Article.
16.2 : U and PL suggest inserting “equitable” after "“stable" in tine
3, and. replacing “other" with “any". -There was no opposition

to including “equitabie".

16.3: Scrutiny reserve, pending discussion of .the definition of

Activities Associated with Investments.

16.4 : IR compromise text based on proposal suggested by drafting
group consisting of EC, NL, USA, GB, D and SF. Scrutiny reserve
by AUS, J, CDN and SF.

16.5 : N reserve.

The Norway proposal, referenced in the General comments above,
would either add the following language to or substitute the
following language for language in the Articles and paragraphs

indicated below :
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Article 16, paras (2)-(6) replaced by

Alternative A

(2) Each Contracting Party shall in areas under its
jurisdiction as a minimum standard permit Investors of other
Contracting Parties to Make Investments on a basis no less
favourable than that “accorded to Investors of any other
Contract ing Party or any third -State, whichever is most

favourable.
Alternative B

(2) Each Contract ing Party shall in. areas under its
Jurisdiction permit. Investors of other Contracting Parties to
Make investments on a basis no less favourable than that
accorded to its own Investors or to. Investors of any other
Contracting Party. or any third state, whichever’ is most

favourable.
Article 41 :

(1) Notwithstanding the provisions of Article 16, 0 any
Contracting Party may upon signing this Agreement reserve
its right to. apply to Investors of other Contracting
Parties Most. Favoured Nations treatment as a minimum
standard. Such. reservation shall be confirmed when -

ratifying, accept ing or approving the Agreement.

(2) The Contracting Parties agree to make every effort to
eliminate reservations made pursuant to paragraph (1) which
affect the ability of Investors of other Contracting
Parties to Make ‘Investments in “areas ‘under their

jurisdiction.

(3) Any Contracting Party may accord to Investors of any other
Contracting. Party the same treatment on a reciprocal basis
as that Contracting Party pursuant to paragraph (1) accords

to Investors from other Contracting Parties.
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Article 44, para (2) (Note subparas (2) (a), (b), (c) and (d)

remain unchanged)

(2) The Depositary shall inform the Contracting Parties, other
states being signatories to the European Energy Charter,
and Parties with an Association Agreement pursuant to

Article 38, in particular of

Article 44, para (2) (e) and (f) (Note subpara (2) (e) replaces

existing text and subpara (2) (f) is new text).
(e) any reservation pursuant to Article 41;

(f) any other declaration or notification concerning this

Agreement .

Articie i, (Addition of following Definition)
“Most Favoured Nation . treatment" means, unless the GATT
otherwise . entails, that a Contracting Party in laws,
regulations, judicial decisions, administrative rulings or
general applications may treat its National Investors more
favourably than investors from other Contracting Parties, but
all investors from other Contracting Parties must be treated
“ equally, and no fess favourable than investors from any third

state.

16.6 : AUS supported by CDN wishes insertion: “subject to its right to
exercise power conferred by its law and investment policies".
AUS and CON ars prepared to withdraw their proposa! given
satisfactory resolu ion of footnote. 16.11. RUF would support.

insertion unless i is clear that the obligations of this

Article are to be implemented through national legislation.
16.7 : USA suggests insertion of "in like circumstances".

16.8 : AUS reserve. AUS is prepared to withdraw. its reservation

“pending the resolution of footnote 16.11.
16.

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GB suggests insertion of “and shall not discriminate on the
basis of the nationality or citizenship of the Investors" to

meet the USA concerns in footnote 16.7.

RUF reserve pending the transition arrangement provisions on
legislation, because of the need to arrange for exceptions,
difficult to anticipate, stemming from tegislation under

preparation.

The precise wording will be defined after completion of Annex
A.

N reserve subject to their alternative proposal on paras (2) to
(6) of this Article based on a reservations rather than an

exceptions approach.
Deferred to tater discussion on issues of reciprocity and MFN.

USA suggests replacing with “considered necessary to effect the
dissolution". During the discussion at WG II meeting on 2 June
1992 CDN raised a requirement for incorporating not only
demonopolization, but also privatisation of state enterprises.
To meet this objective GB, CDN and USA propose an alternative

text replacing the last two sentences with the following

“However, a Contracting Party may, after its signature of this
Agreement, add any relevant measures to Annex A which are.
necessary to demonopolisation or privatisation of a monopoly or
state enterprise {that existed at the time of signature of this

Agreement] provided that the totality of such additional

measures taken by a Contracting Party, when considered together

with existing measures, are not “significant barriers to
Investment opportunities in the energy field for Investors of
other Contracting Parties. Once notified, any such measures
shall also be subject to the other provisions of this
paragraph. - Nothing in this Article shall prevent a Contracting

Party from establishing a monopoly."

CDN maintains a reserve on square bracketed part.
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- 42 =
16.15: AUS reserve.

16.16: J reserve subject to definition of [Energy Materials and

Products].

16.17: EC scrutiny reserve on para (5).

16.18: AUS reserve. Chairman stated that para (6) is intended to be a
. strong political commitment and not subject to Dispute

Resolution procedures.
16.19: Deferred to discussion on Article 29.

16.20: Modified proposal formulated by the Secretariat based on GB
suggestion in footnote 16.9 for adding : “and shail not
discriminate against the Investments and Activities Associated
with Investment on the basis of the nationality or. citizenship
of the Investors" to meet USA concerns in footnote 16.7.

16.21: J and CDN reserve subject to definition of Activities

Associated with Investment.
16.22: USA reserve.
16.23:  J:and CDN reserve.

16.24: USA linguistic concern with use of word "Investors" since

"Investors" do not employ.

16.25: J supported by N requests that the notion of “entry and stay”

‘also be covered.

16.26: A request replacement with : “or are seeking to make
Investments in the Domain of the first Contracting Party to

bring in, employ within and take out of".
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16.27: CON will submit definition of key personne! for potential

inclusion in Articte 1.

16.28: A, N and SF reserve.

16.29:. CDN scrutiny reserve.

16.30: USA proposa! subject to later deliberation.

Chairman's Summary

Following is the Chairman’s summary of the discussion which took place

on Article 16
. The Chairman finalized broad consensus that

(1) National Treatment should be required for investments once made —
he noted the Japanese question about the need for a precise
def inition of “Make Investments";

(2) Exceptions from National Treatment at the Investment stage should

be listed -— either in Annexes A or in statements of reservations;

(3) All such exceptions should be on. a Most Favoured Nation basis

except possibly in relation to reciprocity;
(4) The exceptions should be subject to standstill and roll!back.

He saw the Norwegian differences from the Annex A _ approach as

consisting basically of three elements

(a) The rollback would be subjJect to the discipline of reciprocity -
though the problems of defining .reciprocity were not fully

’ explored;

(b) As a consequence there would be no need to judge the "balance" of

exceptions before signature;
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(c) There would be a simplification in drafting, using the Vienna

Treaty, in embodying the Norwegian approach.

In discussion most other delegations wished at least to be able to form
‘a picture of a total array of exceptions before signature. The
following procedure was therefore agreed ,

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(1) To continue with the collection and analysis of Annex A returns;

(2) For those countries not in the former Soviet Union (FSU), to submit

their Annex A returns before the end of June;

(3) For those countries in the FSU, to submit provisional Annexes A by
the end of August;
(4) The Secretariat would consider. the procedures for scrutinizing

Annexes A and come up with proposals;

(5) Possible ways, other than reciprocity as under the Norwegian
proposal, would be considered _ for increasing the incentives

Contracting Parties were under to roll back exceptions.
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ARTICLE 17

COMPENSATION FOR LOSSES

(1) Investors of any Contracting Party whose investments in the Domain
of another Contracting Party suffer losses owing to any armed
conflict, including war, a state of national emergency or civil
disturbances or other similar events in the Domain of the latter
Contracting Party shall be accorded by the fatter Contracting Party
treatment, as regards restitution, indemnification, compensation or
other settlement, no less favourable than that which the latter
Contracting Party accords to its own. investors or the Investors of
any other Contracting Party or any third State. Resulting payments
shalt be made in accordance with Article 19, paragraphs (2) and
(3).

(2) Without prejudice to paragraph (1) above Investors of a Contracting
Party who, in any of the situations referred to in that paragraph,
suffer losses in the Domain of- another Contracting Party resulting

from

(a) [requisitioning of their property by.the latter’s forces or

authorities, or]()

(b) destruction of their property by the latter's forces or
. authorities, which was not caused in combat action [or was not

required by the necessity of.the- situation](2),

shal! be accorded restitution and/or prompt, adequate and effective
compensation. Resulting payments shall be made in accor dance with

‘Article 19, paragraphs (2) and (3).
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General comment

N pointed out that the provisions do not cover a conflict situation in
which the Investment in the Domain of: the aggrieved Contracting

Party belongs to the aggressor Contracting Party.

Specific comments
17.1: :- A serutiny reserve.

17.2: J, A scrutiny reserve as it is too open-ended. The redraft

should use a clear legal language.
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. ARTICLE 18

EXPROPRIATION

(1) Investments of Investors of any Contracting Party shall not be
nationalised, expropriated or subjected to measures having effect
equivalent . to nationalisation or expropriation Chereinafter
referred to as. “expropriation") in the Domain of any other

Contracting Party except where such expropriation is:

(a) fora purpose which is in the public interest;

(b) not discriminatory;

(ce) carried out under due process of law;

(d) accompanied by the payment of prompt, adequate and effective

compensation. -

[Such compensation shall amount to the fair market value of the

_investment expropriated at the time when the expropriation was

[officially announced (hereinafter referred to as "the
expropriation date"]‘2). The fair market. value shall be the
amount a. willing buyer would pay. a willing: seiler for the

particular Investment in question. Where no market exists, (3)
determination of what constitutes [full](4) compensation in .a
given. case of expropriation shall (S) take into “account all
factors which in the particular circumstances of the case are

relevant to the valuation of the property interests involved} 1).

‘Such. compensation shall be made in accordance with Article 19 (2)
and (3), shail be calculated on the basis of the prevailing market
rate of exchange on the expropriation date(6) and shall include
interest at a [commercially reasonable](7) rate(8) from the

expropriation date until the date of payment.
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(2) Under the law of the Contracting Party making the expropriation the
Investor affected shall have ‘a right to prompt review, by a

- judicial “or other independent competent authority of that Party, of
the legal applicability to the Investments of the act of
expropriation, of the payment of compensation and of the valuation

of its Investment[,]°9) in accordance with the principles set out

in paragraph (1).

(3) [Where a Contracting Party expropriates the assets of a company or
enterprise which is incorporated or constituted under the law in
force in any part of its own Domain, and in which Investors of any
other: Contracting ‘Party have a shareholding, the provisions of.

‘paragraph (1) above shall apply to the extent necessary to
guarantee prompt, adequate and effective compensation for those

Investors](19),

(4) [Without prejudice to Article 19, the provisions of this Article
shall also apply to Returns.}411)

(5) [For the purposes of this Article the laws and regulations of a
Contracting Party at the time an Investment is made with regards to
‘the reversion of properties and rights for a resource owner in

force shall not be regarded as an act of expropriation](12),

(14)

Specific comments

sugar

18.1: seneral reserve on new wording proposed by the Chairman as a
possible compromise text is pending scrutiny in all respective
capitals. In the meantime, footnotes 18.2 to 18.5 have been

retained.
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J suggests replacing with : “publicly announced or when that
measure was taken, whichever is the earlier, without reduction
in that value due to the prospect of the very seizure which

ultimately occurs".

AUS asks for inserting : “or where no fair market value can be

ascertained,".
USA. suggests deletion.

USA suggests insertion of “be in accordance with generally
recognized principles of valuation including the going concern

valuation method,".

USA questions whether this should be the same date as that

referred to 9 lines above as the "expropriation date”.
RUF requests deletion.

RUF suggests adding : “in force in respective Contracting
Party".

USA reserve.

General reserve pending the appropriate definition of

Investment.
RUF reserve.

J sees no need for this para since the rights and obligations
in relation to the reversion of property rights may and should
be stipulated in the actual Investment contracts. Besides, such
provision’ might allow the recipient countries to pursue
arbitrary “reversion", which could result in denying the

purpose of this Article.
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18.13: J considers it should be clearly stated that NT and MFN are to
be the guiding principles in the exercise of this Article. To
meet this point J proposes a new para reading:

"Each Contracting Party shall accord ‘Investors of other
Contracting Parties in its Domain treatment no jiess favourable
than that accorded to its own Investors or to Investors of any
other Contracting Party or any third state, whichever is the
most favourable with respect to the Paragraphs (1) to (4) of
this Article". .
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ARTICLE 19

TRANSFER OF PAYMENTS RELATED TO: INVESTMENTS

(1) Each Contracting Party shali in respect to Investments by Investors

(2)

of any other Contracting Farty(1) in its Domain guarantee the
freedom of transfers related to tnese Investments into(2) and out —

of its Domain{. In particutar(4) such transfers include :](3)

_€a) the initial capital plus any additional capital for the

maintenance and: development of an Investment;

(b) Returns;

(c) payments arising out of the settlement of: a dispute; -

(d) payments under a contract, including amortisation of principal

and accrued interest payment pursuant to a joan agreement;
(e) compensation pursuant to Articles 17 and 18;

(f) proceeds from the sale or liquidation of ail or any part of an

Investment.

(Transfers under paragraph (1) above shal! be effected without.
[undue] ‘9)(S)detay(/) [within such - period as is normally

required for the completion of transfer formalities}(9) and in a

[Freely Convertible currency} (8)(9), y(10)
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(3) [Unless otherwise. agreed by the Investor with the Contracting Party
concerned, transfers shall be made at the rate of exchange
applicable on the date of transfer. The rate of exchange shall be
either the spot rate or, where there is no such spot rate, shall
not substantially differ from the cross rate obtained from those
rates which would be applied by the International Monetary Fund on
the rate of payment for conversion of the currencies concerned into

Special Drawing Rights](11).

(12)(13)

Specific comments

19.1: AUS. asks for insertion of "and subject to: its right in
exceptional balance of payments difficulties to exercise

. equitably and in good faith powers conferred by its laws".

19.2 : RUF suggests insertion of : ", subject to terms and conditions

of the present Agreement,".

19.3: J asks for substituting with "“,in particular including the

transfer of:".
19.4: A suggests inserting”, though not exclusively."
19.5: EC, S reserve.
19.6: USA suggests deletion. .

19.7: USA requests for adding "and be freely transferable".

19.8: RUF requests substituting with : “currency, they were obtained

or invested”.
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19.9: CDN laid its claim for replacing :the part of sentence “and be
freely transferable in a freely convertible currency.” after the
word "delay" in Article 18, para (1), 7th line from the bottom
of the fol lowing:

“Where the currency of the Contracting Party carrying out the
expropriation is not freely convertible, the compensation shal!
be freely transferable to a freely convertible currency". With
respect to transferring this issue to Article 19, the Canadian
suggestion. is registered here and should be expanded to

transfers generally.

-19.10: RUF, KIR, AZB reserve.. The Chairman suggests that the problem
in which currency the compensation pursuant to Articles 17 to
19 should be made ought to be addressed by the Transitional

Subgroup.

19.11: USA suggests substituting entire para with:
"Transfers shall be made at the prevailing spot market rate of
exchange on the date of transfer. In the absence of a market
for foreign exchange, the rate to be used will be the rate
applied to inward Investments or the rate applied by the IMF in
purchasing currencies, whichever — is more favourable to the

Investor".

19.12: J to the AUS footnote 19.1 points out that though they can

accept the restriction of transfer of payments related to
Investments owing to balance of payments difficulties, it is
necessary to add some conditions by for exampie referring to
the obligations of IMF. In this context J proposes new para (4)
of the following wording:
"Notwithstanding the provisions of paragraphs (1) to (3) of
this Article, each Contracting Party . may in exceptional!
financial or “economic circumstance, impose “exchange
restrictions in accordance with its laws and regulations and in
conformity with the Agreement of the International! Monetary
Fund".
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19.13: USA, supported by AUS and J, proposes a new para (5) of the
Toiiowing wording : “Notwithstanding the provisions of
paragraphs (1) to (3), a Contracting Party may maintain laws
and regulations (a) requiring reports of currency transfer: and
(b) imposing income taxes by such means as a withholding tax

- applicable to dividends or other transfers. Furthermore, a
Contracting Party may protect the rights of creditors, or
ensure the satisfaction of judgements . in ‘adjudicatory
proceedings, through the equitable, non—-discriminatory,. and
good faith application of its law”.

CDN aftso supports this suggestion with the fol lowing
amendments: insert words "“comp!tiance with taws on the issuing,
trading and = § dealing in securities and" before “the
satisfaction" and the words “civil and criminal" before

“adjudicatory proceedings”.
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- 55 - > .

[ARTICLE 20) 61) (2)

TAXAT LON

(1) (2)with respect to taxes, fees, charges, fiscal deductions and

exemptions, each Contracting Party shal! accord in its Domain to
Investments, Returns and Activities Associated with Investments of
Investors of any Contracting Party a treatment not less favourable
than that. which would have been accorded to Investments, Returns
and Activities Associated with Investments of its own Investors or
to those of any other Contracting Party or third state, whichever

is more favourable to the Investors concerned.

(2) The provisions of paragraph (1). of this Article shall be without

prejudice to:

(a) (4)the right of Contracting States to apply the relevant

provisions of their tax law which distinguish between
tax-payers who are not in the same situation with regard to
their place of residence or with regard to the place where

their capital is invested,

(b) any fiscal advantages or privileges which a Contracting Party
grants or may grant in the future by virtue of [its membership
to or its association with any existing or future Customs or
Economic Union or a. Free Trade Area or similar international

agreement, or}°™? [any agreement ands any . ‘equivalent

arrangement entered into in order to avoid double taxation or

to facilitate cross-border. traffic. ]°©

General comments

7 The USA position on Article 20 is enclosed. The USA agreed to
attempt to work its proposal into amendments to the current text

based on EC-—proposal!.
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a - 56 - :

- The Chairman appointed a sub-group fead by the Secretariat composed
of A, AUS, CDN, CH, EC, N, PL, RUF, S, U and USA. Its first meeting
will be held on 11 September. Sub-group meetings are open to all

delegations.
The tasks of the sub-group will be to

i. Remove potetial doubts in the text regarding the supremacy of.
- bilateral tax agreements and their dispute settiement

provisions;

ij. Secure that “tax-havens" do not create any tax-affects for the

Contracting Parties;

_tii. Remove doubts about the consequences of more favourable tax-

treatment of foreign investments;

iv. Investigate the potential for a. transitional ciause_ for

privatisation and/or demonopolisation;:
v. Secure that future bilateral tax-agreements are covered;

vi. investigate the potential problems connected with the phrase
“fees, charges..." in relation to the term “tax law" in para 2

(a).

vii. Investigate the potential use of the OECD ~ mode! text (Chapter
6, Article 24); and
viii. Investigate if the exceptions to "Customs or Economic Union or |

a Free Trade Area..." can be moved to Art. 27.

Specific comments

20.1: “RUF reserve.
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20.2: A is of the opinion that in the framework of multilateral
agreements, and therefore also in the Basic Agreement,
taxation matters should be excluded from the most—favoured
nation treatment. a
This point of view corresponds to the unanimous position as it
emerged at the ftatest meeting of the OECD Fiscal Committee on
June 22/23, 1992; there the Basic Agreement was explicitly
mentioned as an example where the principle of MFN-treatment

should not be applied.
20.3: AUS and RO reserve on para (1).

20.4: J supports the idea to admit the difference in treatment
between residents and non-residents in order to assume an
equitable or effective imposition or collection of taxes on
income. The present wording, however, is not clearly formulated
accordingly, J therefore proposes the following new sub—para.
"(a) the right of a Contracting Party to take neasures in order
to ensure the equitable or effective imposition or collection
of taxes on income, which may distinguish between its own
Investors who are deemed to reside in its Domain and Investors
of other Contracting Parties who are not deemed to reside in

its Domain.”
20.5: J-reserve. Would prefer dealing with issue in Article 27.

20.6: J reserve until term in [ ] is clarified.
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U.S. POSITION ON ARTICLE 20

GENERAL EXCLUSION : INCOME TAX AND RELATED MEASURES.
Except as provided in paragraph (4) and (5) of this Article 1),
nothing in this Agreement shall apply to taxes on income or captial

gains or on the taxable capital of corporations.

LIMITATION ON APPLICATION OF AGREEMENT TO TAXES OTHER THAN INCOME
TAX AND RELATED MEASURES.

a) Except as provided in paragraph (4) or (5) of this Article,
with respect to taxes other than those referred to in paragraph
‘1, nothing in this Agreement shall apply to any measure aimed
at ensuring the equitable or effective imposition or collection

of taxes.

b) With respect to taxes other than those referred to in paragraph
(1), the most favoured nation provisions of this Agreement
shall not apply to advantages accorded by a Party pursuant to

_ any convention for the avoidance of double taxation ("tax
convention”) or any other agreement or arrangement reiating to

‘taxation.
TAX CONVENTIONS AND AGREEMENTS

Without limiting the application of paragraphs (1) and (2), nothing
in this Agreement shall affect the rights and obligations under a
tax convention or other international agreement or arrangement, or
domestic legislation implement ing such agreement or arrangement,
relating to taxes; and, in the event of an inconsistency between
the provisions of this Agreement and a tax convention, the
provisions of the tax convention shall prevail to the extent of the

inconsistency.
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APPLICATION OF PROVISIONS RELATING TO TRADE IN GOODS TO INCOME TAX
RELATED MEASURES.

Subject to paragraph (3), provisions of this Agreement
incorporating by reference rights and obligations of the Parties
relating to trade in goods under Article I!! of The General
Agreement on Tariffs and Trade and such other provisions of this

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ect to such provisions
(1)

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apply to the taxes referred to in paragraph or paragraph (2).

EXPROPRIATION

A claim by a Party or an investor of such Party that a tax measure
of another Party constitutes an expropriation shall be resolved
under Article _.-—s«—iof Part 1V “(Investment Promotion and
Protection). The issue of whether such tax is discriminatory shall
be referred for resolution to the competent authorities under a tax
convention between the relevant Parties. If the competent
authorities under the tax. convention do not agree to consider ‘the
issue, or, having agreed to consider the issue, fail to resolve it
within a reasonable period of time, or if there is no tax
convention between the relevant Parties, the issue of whether such
tax is discriminatory shall resolve, together with all other issues
of the expropriation, under. Article __ of Part IV (Investment -
Promotion and Protection), basing such resolution: on the concepts
of the non-—discrimination provision of the OECD of UN Mode! Income -

Tax Treaty.

WITHHOLDING TAX

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or greater
certainty, notwithstanding Article.19 (Repatriation of Investments |
and Returns) a Party may impose or collect a tax by withholding or

other means.
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USA EXPLANATORY NOTE

USA will develop additional language narrowing ‘the tax exception in
paragraphs (1) and (2) if the Basic Agreement is expanded to
include provisions affecting services or service providers or to
contain provisions limiting the application of - performance

requirements.
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CANADA‘s POSITION ON ARTICLE 20

EC PROPOSAL

The more comprehensive approach incorporated in the EC proposal was
a welcome improvement on the draft Art. 20 in document BA.12.

However, in our view, the EC proposa! suffers from a number of

defects:

- paragraph (1) is not required with respect to taxation. These
- obligations need not be restated, as similar obligations found

in Art. 16 (particularly parag. (2) and (7) already apply to

all measures of a Party affecting investors, including

taxation;

- the imposition of MFN obligations on domestic tax legislation
and double taxation agreements (DTA‘’s) last part of paragraph
(1) is inappropriate, since it ignores the balance achieved in
bilateral DTA’s and. makes the non-discrimination article they

contain irretevant;

~- the carve-out in paragraph (2) is insufficient, since it
appiies oniy with respect to paragraph (1) and not with respect
to similar obligations found elsewhere (e.g. Article 16) in the

Agreement ;

- the carve-out found in sub-paragraph (2)(a) is too narrow, as
it should permit differentia! treatment among. taxpayers in

circumstances other than those listed;

- the reference to"fiscal advantages and privileges" in sub-
paragraph (2)(b) is too narrow; al! rights and obligations of a

DTA should be explicitly protected.
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U.S. APPROACH

Canada has a strong preference for an approach along the lines
proposed by the United States. The advantages of the approach, in

our view, are the fol lowing:

i. it distinguishes between income and similar taxes on the one

hand, and other taxes on the other hand;

- it provides a clear and unconditional carve-out for current and
future taxes on income, capital gains and taxable capital of

corporations;

- it provides a complete carve-out for current and future double
taxation agreements; DTA‘s . would, appropriately so,

unambiguously prevail over the Agreement;

- in recognition of existing obligations under the GATT, the
carve-out explicitly excludes from its scope any provision of
the Agreement implementing obtigations with respect to trade in

goods consistent with Article !fi of the GATT;

- it addresses the issue of expropriation in the context of

taxation;

CANADIAN AMENDMENT TO U.S. PROPOSAL

Canada supports the latest U.S. draft on July 24 1992, with the
exception of its provisions on expropriation (paragraph 5).. The
attached document incorporates CDN’s revised version of paragraph ©
5. .
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_ 63 --

Canada considers that in order to ensure that only genuine
expropriatory tax measures are dealt with under Art.18 and 23, it
would be desirable that both Parties to the dispute first had the
“oppor tunity to determine whether the contentious tax measure is
indeed tantamount to expropriation, or else a bona-fide tax
Measure. In our view, the competent author ities responsible for the
application of double taxation agreements should be required to
make a determination on the issue before resolution of the dispute
is allowed to continue under Art. 23. This would eliminate abusive.
claims made by investors regarding the expropr iatory nature of a

given tax measure.
Article 20

TAXATION

GENERAL EXCLUSION

Except as provided for in this. Article, nothing in this agreement
shall apply to taxes of the Contracting Parties. In the event of an
ambiguity or conflict. between this Article and any other provision

of this Agreement, the provisions of this Article shall prevail.

TAX CONVENTIONS

Without limiting the application of paragraph 1, nothing in this

Agreement shall affect the rights and obligations under any

- convention for the avoidance of double taxation (in this Article

referred to as.a “tax convention") or other international agreement
‘or arrangement, or domestic legislation implementing such
agreement, or arrangement related wholly or mainly to taxes, and ,

in the event of an inconsistency between the provisions of this

--Agreement and any such convention, agreement, arrangement or

legislation, the provisions of the convention, agreement,
arrangement or legislation shall prevail to the extent of. the

inconsistency.
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, ~ 64 -

APPLICATION OF PROVISIONS RELATING TO TRADE IN GOODS

Provisions of this Agreement restating or incorporating by
reference rights and obligations of the Contracting Parties.
relating to trade in goods under Article 11! of the General
Agreement on Tariffs and Trade, and such other. provisions of this
Agreement as are necessary to give effect to those provisions,
shall apply to the taxes of the Contracting Parties to the same
extent as does in Article !t!l of the Generai Agreement on Tariffs

and Trade.

APPLICATION OF PROVISIONS RELATING TO INVESTMENT TO TAXES OTHER
THAN INCOME .AND RELATED TAXES.

Subject to paragraph 2, provisions ,in Part iV of this Agreement
Cinvestment Promotion and Protection) imposing national treatment
obligations or most favoured nation obligations shall apply to
taxes, other than taxes on income or capital gains or on the
taxable capital of corporations, of the Contracting. Parties, except

that nothing in that Part shalt apply to

(a) impose most favoured nation obligations with respect to
advantages accorded by a Contracting Party pursuant to a tax
convention or any other agreement or arrangement relating

wholly or mainly to taxation; or

(b) any “taxation measure aimed at ensuring the equitabie and
effective imposition or collection of taxes except where the
measure arbitrarily discriminates between (investors, goods or
-services) of the Contracting Parties or arbitrarily restricts

benefits accorded under this Agreement.
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5. EXPROPRIATION

Provisions of this Agreement relating to expropriation shall apply
to a claim by a Contracting Party or an investor of a Contracting
Party that a measure expressed as a taxation measure constituted an
expropriation or nationalisation except where it has been
determined pursuant to this paragraph that a taxation measure of a
Contracting Party is a bona-f ide tax .Before an investor. or a
Contracting Party may bring such a claim, however, the issue of
whether the measure is a bona-fide tax shal! be referred for
determination _by the competent authorities under the tax
convention, if any,:. between the Contracting Parties involved. if
‘there is no such tax convention or if the competent authorities do
not agree to consider the issue or, having agreed to consider it,
fall to resolve it within a period of six months after the
_refferal, or such ‘other period as may be agreed upon by the
Contracting Parties involved, the investor or the Contracting Party
may bring such a claim under the appropriate dispute settlement |

provisions of this Agreement ‘!?-

6. WITHHOLDING TAX

Without Jimiting the application of the foregoing and for greater
certainty, notwithstanding Article 19 (Repatriation of Investment
and Returns) a Contracting Party may impose or collect a: tax by

- withholding or other means.

(1), cross-reference to this - provision may be required in the

expropriation provisions of this Agreement.
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ARTICLE 21

ASSIGNMENT OF RIGHTS

a) it a Contracting Party, its designated agency or a company or

enterprise incorporated in a Contracting Party other than an

Investor (the “Indemnifying Party") makes a payment under an

indemnity or guarantee given in respect of an Investment
| (3)

the Domain of another. Contracting Party (the “Host Party") or
acquires the rights and ciaims to such an Investment, [as the
result of the complete or partial default of the investor], °”

the Host Party shal! recognise

(a) the assignment. to the Indemnifying Party by law or by legal
' transaction of all the rights and claims resulting from such an

Investment, and

(b) that the Indemnifying Party is entitled to exercise such rights
and enforce such claims by virtue of subrogation, to the same

extent as the original Investor ‘°?-

’ (2) The indemnifying Party shal | be entitled in all circumstances to

(a) the same treatment in respect of the rights and claims acquired
by it by virtue of the assignment referred to in paragraph (1)

“above, and

(b) any payments received in pursuance of those rights and
claims,as the original. \Investor was entitled. to receive by
virtue of this Agreement in respect of the Investment concerned

and its related Returns.
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(3) [Any payments received in non-convertible currency by the

Indemnifying Party in pursuance of the rights and ciaims acquired

shall be freely available to. the Indemnifying Party for the purpose

of meeting any expenditure incurred in the Domain of the Host
Party]

(6).

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Specific comments

A asks for inclusion in para (1) a provision concerning the

rights of the Investor in spite of a subrogation.
J suggests insertion of “and Returns".

EC asks for insertion of "otherwise".

CDN requests deletion pointing out that the Canadian Export .

Deve lopment Corporation insures political risks, but not

commercial risks.

N asks for adding “provided that where initial investment
approval is required any change of ownership of rights held by
a foreign Investor shall be approved by the Host Party in the

same way. as the initial Investment" comprised in BA-6 but not

retained here.

J can accept this provision since this could be interpreted as
a provision. which intends to prevent restrictions on
expenditure in non-convertibie currency. it is necessary,
however, to clarify whether the transfer of any payments by the

assignment of rights come under Article 19 (1).
(1)

(2)

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[ARTICLE 221‘)?

RELATIONSHIP TO OTHER AGREEMENTS

Where two or more Contracting Parties have entered into a prior

international agreement, or enter into a subsequent international

. agreement, whose terms in either case concern the subject matter of

Part IV and V of this Agreement, the terms of that other
international agreement shall prevail between such Contracting
Parties to the extent that they are not less favourable to the
Investor. . -
{For the avoidance of doubt, when an Investor chooses to invoke the
terms of another international agreement in accordance with
paragraph (1) above, Parts iV and V of this Agreement shall not
apply to the investor's activities under that other
agreement }‘*- Oe

Specific comments -

22.

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1: AUS and CON reserve.

2: USA scutiny ‘reserve.
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PART V_

DISPUTE SETTLEMENTS
caRTIcLE 23]°'?

SETTLEMENT OF DISPUTES BETWEEN AN INVESTOR AND A CONTRACTING PARTY

(1) Disputes between one Contracting Party and an Investor of another

Contracting Party concerning an obligation of the former under Part

IV of this Agreement, relating to an Investement of the latter in

amicably.

(2) If such disputes can not be settled according to the provisions.of

paragraph (1) within a period of three months from the date at.

which either Party to the dispute requested amicable settlement,
the dispute shail, subject to paragraph 3 below, at the request of
the Investor concerned be submitted to international arbitration or

conciliation’®?-

(3) [An Investor that has submitted the dispute to the courts or

administrative tribunals of the Contracting Party that is a party
to the dispute, or that has submitted the dispute for resolution in
accordance with any previously agreed dispute settlement
procedures, shall not be able to submit the dispute to
international arbitration or conciliation in accordance with the

terms of this Articlel@*?-

(4) Each Contracting Party which is or has become a member of the

Convention on the Settlement of Investment Disputes between States
and Nationals of other States opened for signature at Washington on
18 March 1965 hereby consents to submit any dispute as defined in
paragraph (1) of this Article to the International Centre for
Settlement of Investment Disputes for arbitration or conciliation

under that Convention.

* (5) In case the Contracting Party concerned is not or. has not yet

(6)

(7)

become a Contracting State of the Convention referred to in
paragraph (4), the dispute may, at the [choice] ‘™? of the

Investor concerned, be submitted to:

(a) the International Centre for Settlement of Investment Disputes,
established pursuant to the Convention referred to in paragraph
(3) under the rules governing the Additional Facility for the
Administration of Proceedings by the secretariat of the Centre

(Additional Facitity Rules); or

(b) an international arbitrator or ad hoc arbitration tribunal
established under the Arbitration Rules of the United Nations

Commission on international Trade Law CUNCITRAL); or

(¢) an arbitral proceedings under the Institute of Arbitration of

the International Chamber of Commerce, Stockholm: or

(d) an international arbitrator or ad hoc arbitration tribunal!

appointed by a special agreement ‘©.

[in the event that the dispute is submitted to an international
arbitrator or ad hoc arbitration tribunal in accordance with
subparagraph (d) above and no agreement on the appointment of that
international! arbitrator or ad hoc arbitration tribunal has been
reached within sixty days of the submission of this dispute, the

investor may submit the dispute to (a), (b) or (c) above}‘”?.

[LA legal person} ‘2? which has the nationality of one Contracting

Party and which before such a dispute arises is? controlled by
Investors of another Contracting Party shal! for the purpose of
article 25 (2)(b) of the Convention referred to in Paragraph (5)(a)
above be treated as an Investor of that other Contracting

Party} ION,

{Each Contracting Party hereby gives its unconditional consent to

the submission of disputes to international arbitration. in

accordance with the provisions of this Article]‘'2.

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(8) The awards of arbitration, which may include an award of interest,

shall be final and binding and shall be [enforced in accordance

with domestic taw] (19).

General comments

CDN cannot agree that disputes regarding tax matters be referred to an

International tribunal.

In order- to assist Canadian authorities in their consideration of
Article 23, the Canadian delegation seeks clarification of how Article
23 might be applied. For instance, the Canadian delegation would wish

to discuss the following questions:

- Would all matters covered by Part IV be subject to arbitration
at the instance of an Investor? For instance, would public
measures taken in situations covered by Article 17 (1) be
subject to arbitral review?

¢ : a

- In situations invotving more than one Investor or potential
Investor, there is a possibility of multiple proceedings. How
would that eventually be addressed? Wil! there be provision for
the consolidation of proceedings? What would that provisions be
like? .

- Some measures by Contracting Parties will affect both their own
Investors and Investors of other Contracting Parties. That
could result in the same medsure being challenged before.
domestic tribunals and before an ‘international arbitrary
tribunal. How can the consistency of the findings in the

' different fora be ensured?

- If the Contracting Party has a counterclaim against an Investor
seeking dispute settlement, will the Contracting Party be able

to choose the forum in which to bring that counterclaim?
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- How will the place of arbitration be choosen? This will be
important because, other than arbitration under ICSID, the’
place of arbitration will determine the law under which
Judicial contro! will be exercised over the arbitral

proceedings.

- Will an arbitral tribunal be authorized to award the costs. of

the proceedings? !f so, on what basis?

~ Would Investors with duat nationality of ‘two Contract ing
Parties be able to choose international. arbitration to
challenge measures of one or the other of those Contracting

Parties?

- How . would the Investor/Host Contracting Party dispute
settlement apply to sub-national governments in a_ federal

system?

- What remedies will be available pursuant to arbitration under
Articie 23? In some federations, the national government cannot

compel the sub-federal governments to make restitution.

- What will be the relationship between dispute settlement under
Article 23 and dispute settlement under Article 247? For
instance, will Article 24 dispute settlement be available to
determine whether Article 23 dispute settlement is available?
What provisions will be made to cover situations where the same
measure is chalienged or may be challenged under both Articles

23 and 24.

Specific comments

23.1: General reservation by some delegations.

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23.2: USA asks for inserting:“,interpretation or application of an

Investment agreement between a Contracting Party and an

‘Investor, or the interpretation or application of an investment
authorisation granted by a Contracting Party".

AUS and J do not favour USA suggestion.

23.3: USA asks for adding:"in accordance with paragraphs (4) and
(5)" .

23.4: SF requests deletion. USA supports retention.
23.5: SF suggests substituting with "request".

23.6: SF asks for adding a new sentence reading:
"If mo agreement on the appointment of that international!
arbitrator or ad hoc arbitration tribunal has been reached
within sixty days of. the request for such arbitration, the.

Investor may submit the dispute to (a), (b), or (c) above”.

23.7: SF suggests deletion in context with footnote 23.6.

23.8: J asks for replacing with "An Investor other than a natural
person".

23.9: USA suggests insertion of :"owned or".

23.10: EC doubts on the nesd for this para. AUS and USA support

retention of this para.

23.11: AUS suggests following wording for this paragraph pending the
final draft of the definition of Investor:.
"An Investor which is not a natural person is incorporated,
constituted or otherwise organised in. the Domain of one
Contracting Party and which before such > dispute arises is
controlled by Investors of another Contracting Party shall for
the purpose of Articlé 25 (2) (b) of the Convention referred to
in paragraph (4) (a) above be treated as an Investor of the

fatter Contracting Party".
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23.12: J considers this para to be redundant. USA supports retention

of this para.

23.13: AUS suggests substituting with:"enforceable in the Domain of
the Contracting Parties". To this AUS comments that the wording
would oblige CPs to make arbitration awards enforceable whereas
the present wording makes enforcement of such awards dependent
on and subject to domestic law, jie. the enforceability is at
the discretion of a cP and an Investor has no guarantee that

his awards could be enforced.
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LARTICLE 24)°))

SETTLEMENT OF DISPUTES BETWEEN CONTRACTING PARTIES

(1) Disputes between Contracting Parties concerning the interpretation
or application of this Agreement shall, if possible, be settled —

through diplomatic channels.

(2) If such a dispute can be brought under the provisions of ‘a
bilateral agreement between Contracting Parties, those provisions

shall prevail in relation to dispute settlement.

(3) Subject to paragraph (2) above, if the dispute cannot be settled in
accordance with paragraph (1) above [within 180 days}, ‘7? except
as otherwise provided in this Agreement, it shall, if one of. the ©
parties to the dispute so requests in writing, be submitted to
dispute resolution under paragraph (4) below, unless otherwise

agreed between such parties.

(4) Where the dispute between the parties has not been settled
according to paragraph (1) above, and has not been submitted to
dispute resolution within 60 days of the request referred to in-
paragraph (3) above, it shall be submitted, if one of the parties
to the dispute so requests in writing, to an ad hoc arbitral
tribunal. . Such an ad hoc arbitral tribunal shall be constituted as

fol lows

(a) The party instituting the proceedings shall appoint one member

of the Tribunal, who may be its national or citizen;
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se

(b) Within 30 days of the receipt of notification of that
. appointment, the other party to the dispute shall, in turn,
appoint one member, who may be its national or citizen. [If the
appointment is not made within the time limit prescribed, the

Party having instituted the proceedings may, within a further
period of 30 days request that the appointment be made in

accordance with sub-paragraph (d) below;

(c) A third member, who may not be a national or citizen of a party
. to the dispute, shall then be appointed between the parties to
the dispute. That member shall be the President of the
Tribunal. If, within 180 days of the receipt of the request
referred to in paragraph (3) above, the parties are unable to
agree on the appointment of a third member, that appointment
shall be made, in accordance with sub-paragraph (d) below, at
the request of any party submitted within 30 days of the expiry

of the 180 day period: provided for in this paragraph;

(d) Appointments pursuant to sub-paragraphs (b) or (c) above shall
' be made by the President of the International Court of Justice
within 30 days of the receipt of a request to do so. If he is
prevented from discharging this task or is a national or
citizen of a party to the dispute, the appointments shall be

made by the Vice-President. If the latter, _in turn, is
prevented from discharging this task or is a national or
citizen of a party, the appointments shal! be made by the most

senior judge of the Court who is not a national or citizen of a

party;
(6) Appointments madé in accordance with sub-paragraphs (a), (b),
(c) and (d) above shali have regard to the qualifications and ©

experience, particularly in matters covered by this Agreement,

of the members to be appointed;

(f) The Tribunal shal! establish its own rules of procedure, unless
otherwise agreed by the parties to the dispute, and shall take

its decisions by a majority vote of its member s;
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(g) The arbitral award shall be final and binding upon the parties

“to the dispute;

(Ch) The expenses of the Tribunal, including the remuneration of its
members, shall be borne in equa! shares by the parties to the

dispute.

(5) (S)Notwithstanding paragraphs (3) and (4) above, in the event of

a dispute between Contracting Parties who are also parties to the
GATT or a GATT-related instrument, which could also be brought
under the provisions of the GATT or the GATT-related instrument
concerned, the parties to the. dispute, except where they have
agreed to an alternative procedure, shall, without prejudice to
the initial application of paragraph (1) above, settle the dispute
[according to the procedures provided for in the GATT or the
GATT-related instrument concerned. Should a Contracting Party who
is not a party to the GATT or to a relevant GATT-related instrument
but who has made or received a written request under paragraph (3)
above become a party to the GATT or that. GATT-related instrument,
the dispute in question shall be resolved in accordance with
paragraph (3) above except where the parties agree to an

alternative procedure.

General comments
CDN believes that consideration should be given to measures for

a) settlement of disputes involving more than one Contracting

Party;

b) intervention. in dispute settlement by a Contracting Party not

party to the dispute; and
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c) ensuring the consistency of interpretation given to provisions

of the Basic Agreement in dispute resolution. -

The question regarding. disputes arising from Protocols is deferred

until discussion of Article 28.

Specific comments —

24.1: Subject to scrutiny by all delegations. CDN scrutiny reserve

also concerns relationship between this Article and Article 27.

24.2: EC and RO reserve.

24,3: Finalisation of this paragraph awaits consideration of the
trade related provisions. USA delegation notes that it may be
preferable to address the trade disputes “through a dispute
settlement procedure as indicated in Room Docuement 18 of 16

June 1992.

24.4: AUS asks for deletion.
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PART VI -
[CONTEXTUAL ]

[ARTICLE 25]°)

[GOVERNMENT CONTROLLED ENTITIES] ‘7? 69?

Each Contracting Party undertakes that if it establishes or maintains a
government-controlted entity wherever located and grants to any such
entity formally or in effect, exclusive or special priviteges, such-
entity shall conduct its activities in a manner consistent with this

Agreement. +

Specific comments

25.1: NL, EC, CDN, USA, RUF scrutiny reserve.

25.2: EC proposed a new text with changed heading’ as follows
"EXCLUSIVE OR SPECIAL PRIVILEGES

Each Contracting Party undertakes that if it grants to any
entity exclusive or special privileges, in the field of energy,
such entity shall conduct its activities in a manner consistent

with this Agreement".

25.3: N has submitted its suggestion on Article 25, including new

heading; which reads:
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“GOVERNMENT PARTICIPATION

Any Contracting Party shal be free to participate in energy
activities through direct participation by the Government or
through government-—controlled Investors. Such Investors may be
granted exclusive or special privileges. in this respect. In
such cases they shal! conduct this activities in a manner

consistent with this Agreement."

Chairman’s conclusion

EC together.with AUS and USA prepare a new draft which should be
available for delegations in good time before the meeting of WG i! on

7-11 September 1992. This draft will be a basis for next negotiation.
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CARTICLE 26)'"?

OBSERVANCE BY SUB-FEDERAL AUTHORITIES

Each Contracting Party shall [take measures available to ity 62 to

ensure observance of the provisions of this Agreement. by the regiona!
and local governments and‘3) authorities within its Domain.

Note

New text as suggested by AUS is based on CDN proposal and amended by
the Chairman. Original CDN wording read: “Each Contracting Party shall -

take [such reasonable] measures [as may be] available...".

Specific comments
26.1: USA reserve.
26.2: EC reserve.

26.3: EC wants inserted: other governmental.
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CARTICLE 27119) (20)

EXCEPT IONS

(1) £The provisions of this Agreement shall not preciude = any
Contracting Party from taking any action [ [which it considers}'"?
necessary for the purposes of protecting its public order, or

[human, animal ‘or plant life or heaith, [or conservation of

(2)4(¢3) i i
exhaustible natural resources] ] or from taking any action

| (4)its obligations under the United Nations
in pursuance of] ,

Charter for the maintenance of international peace and security,

rory° its obligations under the Treaty on the Non-Proliferation

of Nuclear Weapons, the Nuclear Suppliers Guidelines and [ [of ©

international nuclear safeguards obligations, provided that such

hae: (6)shall not constitute disguised restrictions on
prohibitions] .

trade Dor arbitrary discrimination as between Contracting

(8) (9) \such actions shall be duly motivated and shall not

: (10)
be disproportionate to this end.]

Parties]

(2) [A Contracting Party shal! neither be obliged to supply information

nor be precluded from taking such measures as it considers
(11)
necessary in order to .protect its essential {defence]
~- (12)
interests.] :

(3) The provisions of this Agreement shall not be construed so as to
oy . (13)(14) benefit
oblige any one Contracting Party to extend the .

V

of any treatment, preference or privilege resulting from

(15)the. membership to for association, with](16)- any.

(16) customs [or economic}(16) union or

“existing ‘Lor future]
a free trade area [or similar international agreement]
which any of the Contracting Parties concerned is or may become

a party, or “
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(17)
(b) [any regulation to facilitate frontier traffic] .

(18)

Specific comments

27.1 :. N reserve.

27.2 : N reserve as paraphrasing of Art. XX (g) of GATT code is used
here in a different context. Should be replaced rather with

“energy purposes”.

27.3: CH suggests deletion subject to the purview of Part !V of this
Agreement. USA supports deletion.

27.4 : EC suggests substituting with: “Justified on grounds of public:
morality, public policy or public security, the protection of
health and life of humans, animals or plants, the protection of
intellectual, industrial and commercial” property, or the
protection of national treasures, possessing artistic, historic

or archaeological value,”.

27.5 : . EC in context with footnote 27.4 suggests deletion.

27.6 : EC suggests ‘substituting with: "its international nuclear
safeguards obligations or in pursuance of other issues of

nuclear proliferation. Such actions".

27.8 : J suggests deletion, and replacement with: “obligations under .

other nuclear non-proliferation regimes".

. 27.9 : RUF asks for addition of subpara. (j) of Art. XX and Art XII of
GATT. ,
Case 1:19-cv-01618-TSC Document 23-13 Filed 12/20/19 Page 85 of 112

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27.10: EC final! position reserved on para (1).
e7.1t: USA and. EC ask for substituting with "security".
27.12: EC final position reserved on para (2).
27.13: USA suggests insertion:“most favoured nation".
27.14: EC suggests insertion: "to another contracting Party".

27.15: J reserved position and argued that since this Agreement should
be based on the principle of non-discrimination among the
Contracting Parties, the provision of exception of MFN
treatment with regard to customs union, etc ..., should not be

included. :
27.16: Left for later discussion. USA suggests deletion.

27.17: For consideration at next meeting. —
27.18: EC - a statement in the minutes of the. concluding document
“ could substitute, if necessary, the ex-paragraph (4) concerning

a Community exception:

(4) In their mutual relations, Contracting Parties which are
Members of the European Economic Community shall apply
Community rules 2nd shal! not therefore apply the rules
arising from this Agreement except insofar as there is no

Community rule governing the particular subject concerned.

27.19: CDN ‘believes that substantive and organizational changes are
required in Article 27. {it proposes the following illustrative

text as addressing those needs

(1) The provisions of this Agreement shall not preciude any

Contracting Party from adopting or enforcing any measures :
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a) necessary to protect its public [order/morais];

b) necessary to protect human, anima! or plant life or
heaith; .

c) relating to the conservation of exhaustible energy
resources if such measures are made effective in
conjunction with restrictions on. domestic production or

consumption;

d)} essential to the acquisition or distribution of [Energy
Materiais and. Products] in general or local short supply,
if such measures are consistent with the principle that all
Contracting Parties are entitled to an equitable share of
the interantional supply of such [Energy Materials and
Products] and that any such measures that are inconsistent
with this. Agreement shall be discontinued as soon as the

conditions giving rise to them have ceased to exist; or

e) necessary for prudential, fiduciary or consumer

protection reasons;

provided that such measures shall not constitute disguised
restrictions on trade or Investment, or. arbitrary or
unjustifiable discrimination between Contracting Parties or
between Investors of Contracting Parties. Such measures
shall be duly motivated and sha! | not be disproportionate

to the stated end.
(2) Nothing in this Agreement shall be:> construed

a) to require any ‘Contracting Party to furnish any
information the disclosure of which it considers contrary

to its essential security interests;

b) to prevent any Contracting Party from taking any measure
which it considers necessary for the protection of its

essential security interests
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i) relating to the supply of [Energy Materials and

Products] to a military establishment;

ii) taken in the time of war or other emergency in
international relations involving the Contracting Party

taking the measure;

iii) relating to its obligations under the Treaty on the .
Non-Proliferation of Nuclear Weapons or other international
nuclear: non-proliferation under takings, or required by
national nuclear non-proliferation laws, regulations or

policies; or

c) to prevent any Contracting Party from taking any measure
in pursuance of its obligations under the United Nations
Charter for the. maintenance of international peace and

‘ security;

provided that any such measure shall not constitute a
disguised restrictions on trade or Investment and that any

such measure shall be duly motivated.

(3) If a Contracting Party considers that any measure taken by
‘another Contracting Party . pursuant to paragraph (2)
constitutes a disguised restriction on trade or Investment
or otherwise nullifies or inpairs any benefit reasonably
expected under this Agreement, it may request consul! tations
with the Contracting Party. taking the measure. Such
consultations shal! be held promptly, and the Contracting
Party whose measure is the subject of the consultations
shall give full and sympathetic considerations to the
views of the other Contracting Party and shall explain, in
as much detail as is consistent ‘with its security

interests, the reasons for the measure. .
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(4) No Contracting Party may invoke the provisions of this
Article to derogate from the requirements to pay
compensation pursuant to Articles 17 and 18 or to permit
the transfer of an Investment or Returns in accordance with
Article 19.

(5) The provisions of this Agreement shall not be construed so
as to oblige any one Contracting Party to extend the
benefit of any treatment, preference or privilege resulting

from

(a) the membership to or association with any existing or

future customs or economic union or a free trade area or

similar internationai agreement to which any o he
t

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or

Contracting Parties concerned is or may become a par y, or
(b) any regulation to facilitate frontier traffic.
27.20: N suggests substituting whole Articte with the following:

"The provisions of this Agreement shall not be construed so as
to oblige any one Contracting Party to extend to another
Contracting Party the benefit of any treatment, preference or
privilege resulting from the membership to or association with.
any existing or future customs union or a free trade area or
interim agreement leading to the formation of a customs union
or.a free trade area, untess also that other Contracting Party
is or becomes a member to or associated with such customs
union, free trade area or inter im arrangement; provided that
the Contracting Party’s membership to or association with the
customs union, free trade area or interim arrangement has been

duly notified to the other Contracting Parties."

To this N adds that other possible exceptions will have to be
considered in view of the-outcome of the discussion concerning
the handling of trade policy articles (the relationship to
GATT). .
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PART VII
“STRUCTURAL AND, INSTITUTIONAL
ARTICLE 28
RELATIONSHIP BETWEEN THE AGREEMENT AND ITS PROTOCOLS

(1) The Contracting Parties agree that in order to give further effect
in detail to the objectives and principles of the Charter it will
be necessary to negotiate some appropriate Protocols to this
Agreement, [for adopt ion by the Governing Counci| in accordance
with Articles 29... and 30....)°? Fach Protocol shall only

apply to the Contracting Parties which enter “into it: Any

Contract 109 Party may participate in negotiations or enter into any

Protocol

(2) [in the event of a conflict between the. obligations of a
, (3)
Contracting Party under this Agreement and Lits]

. . under. a_ Protocol, its obligations under this
obligations

Agreement shall prevail, except as otherwise provided in this

(3) A State or regional economic integration organisation: shal! not
become a Party to a Protocol unless it is, or becomes at the same

time, a Party to this Agreement.

Chairman‘s note

The Chairman draws the attention to the fact that not all Articles in’

a Protocol need 'to be relevant for all Contracting Parties.

At the Chairman’s request the Secretariat will prepare a message to the
Plenary summarizing the debate which took place during the discussion
in WG It of 19/6/92 of Article 28 concerning the issue of whether and

the extent to which Protocols should be fegally binding.
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General comments

N argues that this Article should specify that the BA, in addition to
being fully applied in Protocols, should also apply equally in areas,
if any, covered by the term [Energy Materials and Products], which are

not explicitly dealt with in any Protocol.

Specific comments

28.1: Pending discussion of Articles 29 and 30 and ai clearer
understanding of the impact of portions of those Articles on
this Article. . .

28.2: RUF requests additional sentence : “The Contracting Parties may
subsequently increase the number of Protocols concluded as the
need for them arises".

28.3: USA requests deletion.

28.4: USA suggests insertion of : "that may be established".

28.5: D asks for deletion.

28.6: EC general reserve.

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(1)
{ARTICLE 29}

GOVERNING COUNCIL

C1) A Governing Council composed of one representative of each
Contracting Party is hereby established. The first meeting of the
Governing Council shall be convened by the Secretariat designated
on an interim basis under Article 31 not later than [one year}]°
after the closing date for signature of this Agreement in
accordance with Article 33. Thereafter, ordinary meetings of the
Governing Council shall be hetd at [regular] intervais to be
determined by the Council. .

(2) Extraordinary meetings of the Governing Council! shall be heid at
such other times as may be deemed necessary by the Council, or at
the written request of any Contracting Party, provided that, within
six weeks ‘of the request being communicated to them by the
Secretariat, it is supported by at least one-third of the

Contracting Parties.

(3) The Governing Councii shaii agree upon and adopt rules of procedure

and financial rules for itself fand for any subsidiary bodies it
may establish within the scope of this Agreement] » as well as
the staff matters referred to in Article 31 paragraphs (2) and (3)
below and the financial provisions governing the functioning of. the

Secretariat.

- . . _ (4) avoid
(4) The Governing Counci | {,while taking care to]

duplication and taking full ‘advantage of. the work and expertise of
. . , . (S) keep under
competent international. or other bodies, [shall] .
continuous review the implementation of the principles of the
Charter, and of the provisions of this Agreement and the Protocols
6

and, in addition, [shall]
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(a) promote in accordance with this Agreement and Protoco!s the —
coordination of appropriate [policies, strategies ana}?
measures to carry out the principles of the Charter and the
provisions of this Agreement and Protocols, and [make

recommendations on} 8) any other measures relating to this

Agreement and Protocols;

(b) consider and adopt programmes of work to be carried out by the

Secretariat, in accordance with this Agreement and Protocols;

(c) [consider and approve annua! accounts and budget estimates in

(9).
respect of administrative costs] ?

(d) consider and approve the terms of any headquarters agreement,
including privileges and immunities necessary for the
Secretariat to carry out its functions under this Agreement and

Protocols;

(@) encourage joint efforts aimed at facilitating and promoting
market oriented reforms and modernization of energy sectors in.
the countries of Central and Eastern Europe and the

[Commonwealth of] independent States;

(f) monitor the implementation of measures undertaken pursuant to
transitional arrangements in accordance with Article 42 with a
view to assisting any Contracting Party in meeting its

objectives and obligations ;

(g) consider and adopt, as required, in accordance with Article 37

of this Agréement, amendments io this Agreemeni;

(h) consider and adopt Protocols together with amendments thereto;

(i) [consider and undertake any additional action. that. may be
required for the achievement of - the purposes of this

(10)
Agreement].

(11)
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(5) [in 1999) and every S&S years thereafter the Governing
Council shall review the functions remaining to it in the light
of the extent to which the provisions of this Agreement and
Protocols have been imp!emented. Following each review the
‘funet ion specified in paragraph (4) above may be amended or
abolished by the Governing wee {by a vote,}' > in

accordance with (Article 30.]

General comments

~  .—C has a general reserve on this Article pending the clarification

of the following issues:

a) the role of the Secretariat and of the Governing Council,
b) length of life of Governing Council should normally coincide
with that of the Secretariat,

c) need for a sunset clause for both the Governing Counci| and the
Secretar iat,

d) need to clarify the tasks of the Governing Council in relation.
to Protocols (in particular paragraph 4(h), Article 28(2) and
Article 30(4) and (5).

~ J asks for clarification on “programmes of work" in (4) (b).

' Specific comments

29.1: AUS, CDN and EC general reserve on whole Article 29.

29.2: EC suggests substituting with: “three months".
29.3: J reserve on the grounds that there is no need for subsidiary
‘bodies. .

EC suggests deletion.

29.4: EC suggests replacing with: “shall".
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29.

29.
29.
29.

29.

29.

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10:

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12:

13:

14:

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EC suggests, in relation to its footnote 29.4, substituting
with “and”.

EC deletion.

EC proposes deletion.

EC suggests replacing with: “undertake”.

EC amends this subpara to read: "in respect of administrative
costs, consider and approve annual accounts and, before the
beginning of the budget year, budget estimates;"

AUS, EC, USA, J, reserve; an open-ended commitment.

RUF supports retaining this subpara.

EC suggests deletion.

EC proposes adding a new subparagraph which should read:

"(jJ)}where appropriate, delegate, if .economic and efficient,

the tasks of the Secretariat as far as possible to other

organisations or institutions on a contractual basis".

EC suggests replacing with: "Not later than 5 years after entry °

into force".
EC delete.

EC suggests, in the context of footnote 29.13, substituting
with: "Article 30(2)".
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_ ARTICLE 30
VOTING
(1) The Contracting Parties shall make every effort to reach agreement

by consensus on any matter requiring their decision, adoption or

approval under this Agreement.

(2) The adoption of amendments to this Agreement shall be © by
(1)
[consensus] .
(3) Procedures for adoption of amendments to any Protocol shall. be

defined in that Protocol.

(4) [Decisions regarding funding principles for the Governing Council,
or other budgetary matters of the Council [or the
Secretariat] >” shali, subject to paragraph (1) above, be taken

by a qualified majority consisting of that proportion of the

Contracting Parties which together contribute at least three

fourths of the funding to meet the administrative costs of the

(2)
Council [and the Secretariat] under Article 32 below].(3)

(5) In all other. cases, unless [a contrary intention ‘appears
herein}(4). decisions shall be taken by a three fourths majority
vote of the Contracting Parties present and voting at the meeting.

of the Governing Council at which such matters fali to be decided.

(6) For the purposes of this Article, “Contracting Parties present and
voting" means Contracting Parties present. and casting an

affirmative or negative vote.

(7) Subject to paragraph (4) above and paragraph (9) below each

Contracting Party shall. have one vote.
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(8) With the exception of paragraph (4) above, no voting decision shal |
be valid unless it has positive and expressed support of a majority

of all Contracting Parties.

(9) [For the purposes of this Article a regional economic integration

organisation shall, when voting, do so in the following manner:
(a) in votes concerning this Agreement such organisation shal! have
a numbers of votes equal to the number of its member States

which are Parties to this Agreement;

(b) notwithstanding paragraph (3) ‘above, in votes concerning a
Protocol such organisation shall have a number of votes equal
to the number of its member States which are Parties to that

Protocol.

in either case such organisation shall not exercise its right to

vote if its member States exercise theirs, and vice versa.]°™?

General comments

CDN asks how to deal with new and unidentified Protocols.

Specific comments

30.1: J replacing with "3/4 majority vote".

30.2: AUS wishes to delete.

30.3: RUF reserved position on para (4).

30.4: EC suggests replacing with: “otherwise stated".

30.5: . EC reserved position on para (9).
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ARTICLE 31

SECRETARIAT

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(1) The Secretariat shall be composed of, a Secretary General and such

staff as the minimum consistent with efficiency.

(2) The Secretary General shall be appointed by the Governing Council,

initially for a period of maximum 5 years.

(3): In the performance of their duties under this Agreement the
Secretary General and the staff shall be responsible to and report

to the Governing Council.

(4) The Governing Council, acting by majority, shall take all decisions
necessary for the establishment and the functioning of the
Secretariat including the structure , staff levels and standard
terms of employment of officials and employees. The Secretariat
shal} carry out the functions assigned to it in this Agreement or
in. any Protocol and any other ‘assigned to it by the Governing
Counci!, and shall ‘seek to the extent possible the services of

_ competent international or other bodies.

5) The Secretariat functions will be carried out on an interim basis
by a provisional Secretariat until the entry into force of this
Agreement pursuant to Article 39 and the appointment of a permanent

Secretariat under this Article.
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— ARTICLE 32

FUNDING PRINCIPLES

(1) Each Contracting Party shall meet its own costs of representation

at meetings of the Governing Council.

(2) Expense of meetings of the Governing Council! shall be regarded as

an administrative cost of the Secretariat.

(3) [The administrative costs]‘!) of the Secretariat shall be met by

- the Contracting Parties by contributions payable in the proportion

specified in Annex [B]. S

Note

Consideration will have to be given to Secretariat costs arising from
provisions in Protocols, and to the method of updating Annex [B] to

allow for changes in membership.

Specific comments

32.1: RUF. reserved .position until the structure and nature of

administrative costs could be more closely defined.
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PART VIil
FINAL PROVISIONS

’ General comment

AUS, CDN and USA have a general reserve on “Governing Council" and

"Protocols" pending completion of the relevant Articles (29, 28 and
1.15).

ARTICLE 33

cane

- SIGNATURE

This Agreement shall be open for signature by the States and regional

economic integration organisations signatory to the Charter at Lisbon
from [ ] to [ ].

ARTICLE 34

RATIFICATION, ACCEPTANCE OR APPROVAL

_ This. Agreement and any Protocol shall be  gubject to ratification,
acceptance jor approval by States and by regional economic. integration
organisations. Instruments of ratification, acceptance or approval
shall be deposited with. the Depositary.
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[ARTICLE 35)°)?

APPLICATION. TO OVERSEAS TERRITORIES

(1) Any State or regional economic integration organization may at the
time of signature, ratification, acceptance, approval or accession.
declare that the Agreement shall extend to al! the territories for
the international. relations of which it is responsibie, or to one
or more of them. Such declaration shall take effect at the time the

Agreement enters into force for that Contracting Party.

(2) Any Contracting Party may at a tater date, by a declaration
addressed to the Depositary, extend the application of this
Agreement to other territory specified in the declaration. In’
respect of such territory the Agreement shal! enter into force on
the ninetieth day following the receipt by the Depositary of ‘such

declaration.

(3) Any declaration made under the two preceding paragraphs may, in
respect of any territory specified in such declaration, be
withdrawn. by a notification addressed to the Depositary. The
withdrawal shall, subject to the applicability of Article 43(3),
become effective upon the expiry of one year after the date of

receipt of such notification by the Depositary.

General comment

AUS might come back to this Article after finalisation of use of the

word Domain.

Specific comment

35.1: EC and N scrutiny reserve.
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ARTICLE 36
ACCESSION

This Agreement and any Protocol! shall with the agreement by consensus
of the Contracting Parties thereto, be open for accession by States and
regional economic integration organisations which have signed the

Charter from the date on which the Agreement or the Protocol concerned

is closed for signature’). . The instruments of accession shail be

deposited:with the Depositary.

Specific comments |

36.1: EC suggests adding: “according to Article 33”.

ARTICLE 37

AMENDMENT

(1) Any Contracting Party may propose amendments to this Agreement.

(2) The text of any proposed amendment to this Agreement or to any
Protocol shall be communicated to the Contracting Parties by the
Secretariat at least three months before the meeting at which it is
proposed for adoption.

(3) Amendments to this Agreement’ which have been: adopted by the
Contracting Parties shall be submitted py the Depositary to all

Contracting Parties for ratification, approval or acceptance.

(4) Ratification, approval or acceptance of amendments to this

‘Agreement shall be notified to the Depositary in writing.
Amendments adopted in accordance with this Agreement shall enter

into force between Parties having ratified, approved or accepted
Case 1:19-cv-01618-TSC Document 23-13 Filed 12/20/19. Page102 of 112

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them on the ninetieth day after the receipt by the Depositary of
notification of their ratification, approval or acceptance by at
least three-fourths of the Contracting Parties to this Agreement.
Thereafter the amendments, shal! enter into force for any other
Party on the ninetieth day after that Party deposits its instrument

of ratification, approval or acceptance of the amendments. ‘!?

ARTICLE 38°
ASSOCIATION AGREEMENTS

Where, in order to further the implementation of the: objectives and the
principles of the Charter or the provisions of this Agreement or. any
Protocol, it. is considered necessary or desirable by the Governing
Counci | referred to in Article 29 to permit a State, “international
organisation or regional economic integration organisation to associate
itself with this Agreement and any Protocol, an Association Agreement
shall be submitted to the Governing Counci| for its consideration. Such
Association ~ Agreement shall set out clearly the rights,
responsibilities and limitations of associate status for that State or
organisation, it being agreed that differing limitations. may be
applicable to different. States or organisations depending upon the
number of Protocols with which the’ State or organisation wishes to be ©
associated, the nature of such Protocols and the level of association
envisaged by the associat ing State or organisation and permitted by the

Governing Council.

ARTICLE 39

ENTRY. INTO FORCE
(1) This Agreement shall enter into force. on the ninetieth day after
the date of deposit of the thirtieth instrument of ratification,

acceptance or approval thereof.
Case 1:19-cv-01618-TSC Document 23-13 Filed 12/20/19 Page 103 of 112
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(2) For each Party which ratifies, accepts or approves this Agreement
or accedes thereto after the deposit of the thirtieth instrument of
ratification, acceptance, approval or accession, it shal! enter
into force on the ninetieth day after the date of deposit by such
Party of its instrument of ratification, acceptance, ‘approval or
accession. .

(3) For the purposes of paragraph (1) above, any instrument deposited

by a regional economic integration. organisation shal! not be
counted as additional to those deposited by member States of such

organisation.

[ARTICLE 40)°??

PROVISIONAL APPLICATION

{The signatories agree to apply this Agreement and any amendments
thereto provisionally following signature, to the extent that such
provisional application is not inconsistent with: their laws or
constitutional requirements pending its entry into force in accordance

with Articles 37 or 39)‘*).

Specific comments

40.1: CDN reserve.

-N scrutiny reserve.
40.2: J suggests replacing the whole Article with

"C1) Any Signatory of this Agreement may notify the Depositary
that it will apply this Agreement provisionally to the extent
that. the obligations of this Agreement are not inconsistent
with its national ‘laws and regulations.

(2) The Depositary shall inform all Contracting Parties and
Signatories of the notification made in accordance with

paragraph (1) of this Article."
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[ARTICLE ais?

RESERVAT IONS

No reservations may be made to this Agreement.

Specific comments

41.1: AUS and N reserve pending the outcome of the Norwegian proposal
of reservations in Article 16.

CDN reserve subject to finalization of this Agreement.

[ARTICLE 42361?

TRANSITIONAL ARRANGEMENTS

(1) [Lit is recognised that due to differences in the way in which

Contracting Parties have managed the matters [the subject of this
Agreement}‘*) some Contracting Parties [will]3) be unable to

comply with [all the‘? provisions of this Agreement immediately
‘upon entry into force thereof 1°) ©). [Therefore, a transitional
period of up to [ 6768) years may, subject to approval by the
Governing Council, be invoked by tany} ‘2? Contracting Party,
provided that a Note setting out the provisions: with which it
cannot fully comply [together with}‘'0? a timetable for the
implementation of measures” to effect complete compliance is
deposited with its instrument of ratification, acceptance or

approval in accordance with Article 34 above} ‘11? (12).

(2) A Contracting Party which has invoked a transitional period shall

‘notify the Secretariat

(a) of the implementation of any measures needed to effect

compliance;
Case 1:19-cv-01618-TSC Document 23-13 Filed 12/20/19 Page 105 of 112

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(b) of the need for any revision to the list of measures‘'3) for

which the transitional period has been invoked;

(c) of any application to the Governing Council to extend the

timetable for achieving comp!iance in respect of any particular
provision’!4). ,

(3) The Secretariat shall circulate to all Contracting Parties every
six months‘ !”? the Notes referred to in para (1) above [revised

as appropriate]‘'©) to take account of any notification made

under sub-paragraphs (2)(a) and (b) above,and at the same time
notify all Contracting Parties of any applications under

subparagraph (2) (c).

(4) The Governing Council shalt review annually the progress. by
Contracting Parties towards implementation in accordance’ with
Article 29 (4), at the same time as it reviews progress under {1 7?

Article 16 (6). It may take steps to assist Contracting Parties in

facilitating implementation. Applications under subparagraph (2)(c)

above shali be subject to approval by the Governing Counci!.

Specific comments

42.1: J reserved its position and noted that if retained,
transitional periods should be kept as short as possible, and \
that progress toward fulfilment of Charter commitments should
be regularly monitored and evaluated.

42.2: EC suggests replacing with:“to which this Agreement relates".

42.3: EC asks for substituting with “may”.

42.4: EC asks for substituting with "some".
42.

42.

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42.

42.

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14;

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16:

17:,

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CDN pointed out that first sentence .quotes the Charter and
seems to be redundant. RUF argues for retaining first sentence

in the Article.

-EC requests for adding after thereof:"“due to their need to

adapt their economies to a market system".

RUF raises possibility of different durations of transitional

period for different countries.-

USA requests filling in “one" year instead of a blank square-

bracketed place..

EC suggests substituting with "such".
EC asks for replacing with:",the reasons for its inability to

comply. and".

RO reserved position with regard to the conditions required for

approval of a transitional period.

USA asks for adding a new sentence:"The Governing Counci! may
decide, in. acting on a request to invoke transitional
arrangements, to offer the invoking Contracting Party revised
terms on the implementation of measures needed to achieve
compliance with this Agreement".

EC asks for inserting: “for the implementation of provisions".

EC suggests adding:",subject to the maximum period in paragraph

(1) above".
EC asks for inserting:"revisions to". \-
EC suggests deletion.

EC suggests adding: "Article 5 and".
a!

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ARTICLE 43

WITHDRAWAL

(1) At any time after five years from the date on which this Agreement

(2)

(3)

(4)

has entered into force for a Contracting Party, that Party may
withdraw from this Agreement by giving written notification to the

Depositary.

Any such withdrawal shall take effect upon expiry of one year after
the date of its receipt by the Depositary, or on such later date as.

may be specified in the notification of the withdrawal.

{The provisions of this Agreement and any relevant Protocol shall

continue to apply to Investments made in the Territory of. a

Contracting Party as of the date when that Party’s withdrawal from

this Agreement takes effect for a period of twenty years from such
date]‘!)-

Any Contracting Party which withdraws from.this Agreement shall be
considered as also having withdrawn from all Protocols to which it

is Party.

Specific comments

43.

1:

N suggests deleting para (3) pointing out that if a country has
taken a step. of withdrawing from the Charter system, that
country will not consider it of a great importance to see to it
that the provisions of the BA and Protocols are adhered to

after the withdrawal.
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ARTICLE 44

DEPOSITARY

(1) The Government of the Por tugese Republic shall assume the functions.

(2)

of depositary of this Agreement.

The Depositary shall inform the Contracting Parties, in particular,
of:
(a) the signature of this Agreement, or Association Agreement and

the deposit of instruments of ratification, acceptance,

approval or accession in accordance with Articles 34 and 36;

(b)

(c)

Cd)

(e)

the date on which the Agreement, or Association Agreement will

come into force in accordance with:Article 39;
notification of withdrawal made in accordance with Article 43;

amendments adopted with respect to the. Agreement, or
Association Agreement, their acceptance by the Contracting
Parties thereto and their date of entry into force in

accordance with Article 37;

any other declaration or notification concerning this

Agreement.
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ARTICLE 45

AUTHENTIC TEXTS

{The original of this Agreement of which the English, French, German,

italian, Russian and Spanish’? texts are equally authentic, shall be

deposited: with the Government of Portugal. °*?

In witness whereof the undersigned, being duly authorised to that

effect, have signed this Agreement ‘>.

Done at [ } on the [ ] day of L }.

Specific comments

45.1: J wishes to add Japanese language as the seventh language for
. the authentic text or, if not accepted, to limit the number to

two or three (English, French and Russian).

45.2:  D suggests ‘deletion.
45.3: D; subject to. the footnote 42.2, suggests adding : "in English,
French, German, Italian, Russian and Spanish tanguage, of which

every text is equally authentic, in one original, which will be

deposited with the Government of~-Portugal.".
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EUROPEAN ENERGY CHARTER

ADDENDUM
CONFERENCE SECRETARIAT 37/92
BA-15

RESTRICTED

Brussels, 28 August 1992

NOTE FROM THE SECRETARIAT

Subject: Basic Agreement Articles 1 and 16(8).

ae

Attached is a proposal from Canada which should have been added to the

footnotes to BA-15 circulated as Document 37/92 on 12 August 1992.

CHARTER CONFERENCE SECRETARIAT
c/o CEC —- DG XVII, rue de ta Loi 200, 1049 Brussels, Belgium
Tel: (32-2~) 235 7873 Fax: (32-2-) 236 6261
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"92 Ba: S56PM EXTAFF “EEN

Canadian Proposal

ARTICLE 16 PARAGRAPH 8 AND RELATED DEFINITION

A.
B.
(8)
{8 _
bis)

Further to the undertaking recorded in BA14 Note 16.27 the
following is a definition for inclusion in Article 1:

"Key personnel:
A natural person or natural persons who will:
(i) provide advice or key technical sarvices for an
Investment,

(ii) establish, develop, or administer an Investment,
in a capacity that is supervisory, executive or that
involves special qualifications that are vital to the
effectiveness of the Investment over and above the
qualifications required of an ordinary skilled worker.

The natural person and the Investor who makes or has made
the Investment may be one and the same."

In the Canadian view, however, Article 16(8) as currently
proposed, is deficient in that it commits Contracting
Parties only to allowing employment by the investor. We
believe there should also be a commitment to allow the entry
and temporary stay as well as work by key personnel as
defined in Article 1. That is the purpose of our additional
wording in 8(a) hereunder. We also consider it important to
include a commitment not to require labour certification
tests as in the proposed 8(bis).

" A Contracting Party shall, subject to its laws and

regulations relating to the entry, temporary stay [and work]
of natural persons:

(a) [permit] Investors of another Contracting Party who
have made (Investments in the [Territory] of the first
Contracting Party to employ within its [Territory] Key
Personnel of their choice regardless of nationality or
citizenship; grant entry into its territory, grant
authorization to temporarily remain and work therein,
and provide confirming documentation to Key personnel
of an Investor of another Contracting Party that
commits a substantial amount of capital to an
investment in its territory;

A Contracting Party shall not require, as a condition
for temporary stay and work under paragraph

8(a), labour certification tests or other procedures of
similar effect, nor shall a Contracting Party maintain
or impose numerical], restrictions in relatien to the
entry and stay of natural persons under this Article."

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21 ’9@ 4:57PM EXTAFF/EEN P.3/3

Canadian Proposal 16(8)

Canada would also prefer "examine in good faith" rather than
"favourably examine" and believe that "to enter and remain"
should read "to enter, remain and work temporarily".
Paragraph 8(b) would therefore read as follows:

"(b) examine in good faith requests made by natural persons
who are employed by Investors of another Contracting
Party to enter, remain and work temporarily in its
(Territory] for the purpose of engaging in activities
connected with relevant Investments."

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